IN THE HIGH COURT OF JUSTICE                          Case No. HC-2016-002798
BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES
BUSINESS LIST (ChD)

BETWEEN:

                 RAS AL KHAIMAH INVESTMENT AUTHORITY
                                 Claimant and Defendant to Counterclaim
                                       -and-

                                 FARHAD AZIMA
                                            Defendant and Counterclaimant
                                       -and-

                            STUART ROBERT PAGE
                                 First Additional Defendant to Counterclaim
                                       -and-

                             DAVID NEIL GERRARD
                               Second Additional Defendant to Counterclaim
                                       -and-

                                  DECHERT LLP
                                   Third Additional Defendant to Counterclaim
                                       -and-

                   JAMES EDWARD DENNISTON BUCHANAN
                             Fourth Additional Defendant to Counterclaim

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                       DEFENCE OF THE DEFENDANT
                   TO THE RE-AMENDED COUNTERCLAIM
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PRELIMINARY
1.     Except where expressly stated, references to paragraph numbers are to
       paragraphs of the Re-Amended Counterclaim. For convenience of reference
       only, and without thereby making any admission, the Defendant to the
       Counterclaim (“RAKIA”) adopts the headings and definitions contained in the
       Re-Amended Counterclaim. Unless specifically admitted or not admitted
       below, RAKIA joins issue with the Counterclaimant (“Mr Azima”) on the Re-
       Amended Counterclaim.



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I. THE PARTIES
2.     Paragraphs 1 and 2 are admitted. Following a four-week trial between 22
       January and 14 February 2020 (“the First Trial”), Mr Andrew Lenon QC
       (“the Judge”) delivered a judgment dated 22 May 2020 ([2020] EWHC 1327
       (Ch)) (“the Judgment”) in which he held that Mr Azima had engaged in a
       wide range of “seriously fraudulent conduct” towards RAKIA. In particular,
       the Judge found that:
       2.1.   Mr Azima had induced RAKIA to enter into a settlement agreement
              dated 2 March 2016 (“the Settlement Agreement”) by means of:
              (a)   a fraudulent misrepresentation concerning the amount of an
                    investment       made      by    Mr    Azima’s    company,      HeavyLift
                    International Airlines FZC (“HeavyLift”) in a joint venture with
                    RAKIA (“the HeavyLift Investment Misrepresentation”); and
              (b)   a fraudulent misrepresentation that Mr Azima had always acted
                    in good faith towards RAKIA and its related entities (“the Good
                    Faith Misrepresentation”);
       2.2.   Mr Azima had engaged in an unlawful means conspiracy against
              RAKIA in connection with the intended sale of a luxury hotel (“the
              Hotel”) in Tbilisi, Georgia, in the course of which Mr Azima:
              (a)   falsely claimed to have introduced the proposed buyers of the
                    Hotel to RAKIA and, on the basis of that false claim,
                    misappropriated $1,562,500 from RAKIA; and
              (b)   manufactured         a    sham      contract   (“the     Sham    Referral
                    Agreement”)          designed         to    conceal       his   dishonest
                    misappropriation of funds from RAKIA;
       2.3.   Mr Azima paid a bribe of $500,000 to RAKIA’s former chief executive,
              Dr Khater Massaad;
       2.4.   Mr Azima had overseen the commissioning of and payment for a
              “Security Assessment” report, which advocated using various
              unlawful   means        (including      “scams,      frauds     and   deceptive
              partnerships”) to inflict significant financial and reputational damage
              against various RAK institutions and companies; and
       2.5.   Mr Azima had made fraudulent representations to RAKIA in
              negotiations     for   a       proposed     intelligence,     surveillance   and
              reconnaissance joint venture (“the Proposed ISR Joint Venture”).

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3.     As to paragraph 3:
       3.1.   It is admitted that Mr Stuart Page is an investigator who operates, inter
              alia, in the Middle East. It is denied that Mr Page was RAKIA’s agent.
              RAKIA did not, at any time, confer authority on Mr Page to act on its
              behalf.
       3.2.   It is admitted that Mr Neil Gerrard is a solicitor. Mr Gerrard was a
              partner at the international law firm Dechert LLP (“Dechert”) until his
              retirement in late 2020. Mr Gerrard was not engaged by RAKIA in his
              personal capacity.
       3.3.   From 2012, RAKIA engaged Dechert to provide legal advice and
              assistance in relation to a number of matters (“the Dechert
              Retainer”).
       3.4.   It is admitted that Mr James Buchanan was the Chief Executive Officer
              of Ras Al Khaimah Development LLC (“RAK DEV”) until his retirement
              in late 2019. Mr Buchanan was first engaged by RAK DEV in
              September 2014. RAK DEV was responsible (amongst other things)
              for holding and managing various assets such as shares, properties
              and loans which were previously owned by RAKIA. This included
              assets which were the subject of significant frauds and other
              wrongdoing committed by RAKIA’s former Chief Executive Officer,
              Dr Khater Massaad. It is admitted that, from November 2014,
              Mr Buchanan was authorised by RAKIA to undertake various activities
              on its behalf in connection with such assets and RAKIA’s previous
              business dealings.
       3.5. As to subparagraph (e):
              (a)    It is admitted that insofar as Mr Buchanan was acting as the
                     directing mind and will of RAKIA, RAKIA is primarily liable for
                     his acts and omissions.
              (b)    It is denied that RAKIA is “primarily” liable for the alleged acts
                     and omissions of the other Additional Defendants.
              (c)    It is admitted that RAKIA is vicariously liable for the acts and
                     omissions of Mr Buchanan while he was acting within the scope
                     of his authority to act on behalf of RAKIA.
              (d)    It is admitted that RAKIA is vicariously liable for the acts and

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                      omissions of Mr Gerrard and Dechert while they were acting on
                      the instructions of RAKIA within the scope of the Dechert
                      Retainer.
               (e)    It is denied that RAKIA is vicariously liable for the acts and
                      omissions of Mr Page.
               (f)    It is denied that RAKIA is responsible for the wrongs alleged in
                      the Re-Amended Counterclaim.
        3.6.   Allegations in the Re-Amended Counterclaim to the effect that RAKIA
               has acted or failed to act in specified ways are understood to be
               allegations as to the actions or omissions of RAKIA’s “directing mind”
               or authorised agents acting within the scope of their authority.
               RAKIA’s response to such allegations is a response in relation to the
               actions or omissions of such persons and this Defence to
               Counterclaim should be construed accordingly.
        3.7.   With the exception of the above, paragraph 3 is not admitted.


 4.     Save that it is denied that RAKIA has sought to conceal any of the matters
        which are the subject of Mr Azima’s claim, the first sentence of paragraph 4
        is not admitted. RAKIA does not plead to the second sentence as it does not
        contain any relevant averment.


II. BACKGROUND AND PROCEDURAL CONTEXT
5.      As to paragraph 5:
        5.1    It is admitted that at some time prior to 4 August 2016, several of Mr
               Azima’s email accounts were accessed without his authority. The
               date(s) when, and the means by which, the unauthorised access to
               those email accounts occurred and the identity of the persons
               responsible for this are outside RAKIA’s knowledge.
        5.2    No admissions are made concerning Mr Azima’s alleged lack of
               knowledge of the unauthorised access.
        5.3    If and insofar as it is so alleged, it is denied that Mr Azima did not
               suspect there had been any unauthorised access to his email
               accounts prior to the publication of the hacked data in August 2016.
               In support of this, RAKIA will rely on the fact that on various dates in
               2015 and 2016 Mr Azima and his close associates and employees,

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        Mr Ray Adams and Ms Afsaneh Azadeh, and Mr Azima’s lawyer in
        the United States, Mr Kirby Behre, expressed the belief or suspicion
        that certain of Mr Azima’s email accounts had been accessed by an
        unknown third party/parties. In support of this RAKIA will rely on the
        following messages sent by Mr Azima, Mr Adams, Ms Azadeh and Mr
        Behre:
        (a)      On 16 October 2015, Mr Azima received an email from a
                 MESVR email address. He forwarded this to Mr Behre, who in
                 turn forwarded it to an IT specialist. The IT specialist responded
                 by highlighting the MESVR feature and explaining that the
                 email was “a fake message” and that, “The sender domain is
                 mesvr.com… this site is associated with a web service named
                 ReadNotify.com that is used to track when someone reads your
                 email.” Mr Behre forwarded this explanation to Mr Azima and
                 stated that the MESVR message “may have been a set up to
                 make sure you read it… or perhaps a worm to infiltrate your
                 email”.
        (b)      On 28 November 2015, Ms Azadeh received a message from
                 a MESVR email address purporting to be from Mr Azima. She
                 forwarded the email to Mr Azima stating: “Everyday I have
                 some strange emails from you. I guess all your emails are
                 infected.” Mr Azima forwarded the exchange to Mr Adams
                 asking: “Am I infected?” Mr Adams replied that the MESVR
                 email was a form of attempted “spoofing” whereby the
                 “spoofers…are trying to get the recipient to double click the
                 attachment which contains the virus or malware”.
        (c)      On 28 January 2016, Mr Behre sent an email to Mr Adams
                 stating that Mr Adams had received an email containing “a very
                 powerful virus” and advising him to “get your system scrubbed
                 as we are doing”. Mr Behre forwarded the warning to Mr Azima
                 and stated: “Your email may be compromised too”.
        (d)      On 9 February 2016, Mr Behre sent an email to Mr Azima with
                 the subject line “you just opened the infected document Ray
                 ‘sent’ to me on your HH account”. In response to Mr Azima’s
                 reply to that message, Mr Behre warned Mr Azima that “the HH

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                     account may have been infected”. The references to the “HH
                     account”      were    references       to    the   pseudonymous
                     hh@fathers.church email account used by Mr Azima.
              (e)    On 29 March 2016, Mr Azima sent an email to Mr Behre stating:
                     “Ray, Kirby thinks my email maybe hacked? How do you find
                     out?”
              (f)    On 12 April 2016, Mr Azima sent an email to Mr Adams which
                     showed that a third party had managed to send spam
                     messages from his farhad@farhadazima.com email account.
                     Mr Azima’s email stated: “Looks like I am hacked”.
              (g)    On 31 May 2016, Mr Azima sent an email to two employees of
                     the     Waldorf   Astoria   stating:   “My   fa@farhadazima.com
                     <mailto:fa@farhadazima.com> was and is probably Hacked!
                     Someone keep changing my password and I can't access the
                     account. Please use my other email address: fa1. For security
                     reasons I am not giving the full info but will email you from other
                     account.”
              (h)    On 10 June 2016, Mr Azima sent another email to Mr Adams
                     which again showed that a third party had managed to send
                     spam messages from his farhad@farhadazima.com email
                     account. Mr Azima stated: “Ray, does this means [sic] my email
                     act [sic] is hacked again?”
              (i)    On 12 June 2016, Mr Azima sent a further email to Mr Adams
                     which showed another spam message had been sent by a third
                     party from his farhad@farhadazima.com email account. Mr
                     Azima stated: “Hacked again!”


6.     As to paragraph 6:
       6.1.   It is admitted that approximately 30GB of Mr Azima’s data was made
              available via BitTorrent links on the internet in August and September
              2016 (“the hacked data”).
       6.2.   No admissions are made as to the further (unspecified) publications
              relied on.
       6.3.   It is not admitted that any of the hacked data (or any other data
              allegedly made available online) was private or confidential to Mr

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             Azima. Further:
             (a)   The hacked data contained a significant volume of documents
                   which were created, sent or received by Mr Azima in the course
                   of committing serious wrongdoing and/or which constituted
                   evidence of such wrongdoing (“the Iniquity Documents”). The
                   Iniquity Documents and the information which they contained
                   were not private or confidential to Mr Azima. In support of this
                   averment, RAKIA will rely on the principle that there is no
                   confidence or reasonable expectation of privacy in iniquity.
                   RAKIA will also rely on:
                   (i)    The extensive findings of fraud, bribery and other
                          wrongdoing and dishonesty made against Mr Azima
                          contained in the Judgment.
                   (ii)   The conclusion of the Court of Appeal at paragraph 47 of
                          its judgment dated 12 March 2021 ([2021] EWCA Civ 349)
                          that: “the materials which were obtained through hacking
                          Mr Azima’s email accounts...revealed serious fraud on the
                          part of Mr Azima which would have been a very serious bar
                          to the grant of equitable relief in his favour”.
             (b)   Further:
                   (i)    A substantial proportion of the hacked data consisted of
                          communications between Mr Azima or those acting on his
                          behalf with RAKIA and related entities (“the RAKIA
                          Communications”).        Mr   Azima     did   not   have   any
                          expectation of privacy or confidence vis-à-vis RAKIA or its
                          agents in relation to the RAKIA Communications.
                   (ii)   A substantial further proportion of the hacked data
                          consisted of generic and unsolicited advertising and spam
                          email messages which did not contain any information
                          about or relating to Mr Azima (“the Generic Messages”).
                          Mr Azima did not have any expectation of privacy or
                          confidence in respect of the Generic Messages.


7.     Save that RAKIA’s claim for conspiracy was not part of RAKIA’s original
       pleaded case served on 30 September 2016, but rather was advanced for

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        the first time in RAKIA’s Amended Particulars of Claim dated 11 December
        2017, paragraph 7 is admitted.


8.      Paragraph 8 is admitted.


9.      Paragraph 9 is admitted.


10.     Paragraph 10 is admitted. RAKIA will refer at trial to the Judgment and the
        Judge’s order for their full terms.


11.     Paragraph 11 is admitted. RAKIA will refer at trial to the Court of Appeal’s
        order for its full terms.


12.     Save that no admissions are made as to Mr Azima’s intentions, paragraph 12
        is admitted.


13.     RAKIA does not plead to paragraph 13 as it contains no relevant averments.


14.     As to paragraph 14:
        14.1. It is admitted that the hacking was covert in that the person or persons
               responsible have not made their involvement public.
        14.2. It is denied that RAKIA conspired with the Additional Defendants (or
               anyone else) to cover up and conceal the “true facts”.
        14.3. If and insofar as it is alleged that the “true facts” are the factual matters
               in relation to hacking set out in the Re-Amended Counterclaim, this
               allegation is denied.


15.     As to paragraph 15:
        15.1. Subparagraph a. is admitted. The dispute stemmed from RAKIA’s
               discovery that Dr Massaad had systematically defrauded RAKIA over
               a period of years, and RAKIA’s attempts to pursue redress from Dr
               Massaad in respect of those frauds. Further details are provided at
               paragraph 28 below.
        15.2. Subparagraphs b. to f. are a summary of contentions which are
               repeated and developed at greater length in later sections of the Re-

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            Amended Counterclaim. RAKIA’s response to those contentions is set
            out in the sections of this Defence to the Counterclaim which respond
            to those sections of the Re-Amended Counterclaim. To avoid
            unnecessary repetition, RAKIA does not plead a separate response
            to the summary of contentions contained at subparagraphs b. to f.
      15.3. Save that it is not admitted that any of the hacked data was
            confidential or private, subparagraph g. is admitted. RAKIA was not
            responsible for making available the hacked data via the torrent sites
            (“the Torrents”) and does not know who was responsible for this.


16.   Paragraph 16 contains a summary of contentions which are repeated and
      developed at greater length in later sections of the Re-Amended
      Counterclaim. RAKIA’s response to those contentions is set out in the
      sections of this Defence to Counterclaim which respond to those sections of
      the Re-Amended Counterclaim. To avoid unnecessary repetition, RAKIA
      does not plead a separate response to the summary of contentions in
      paragraph 16.


17.   Paragraph 16 above is repeated in relation to paragraph 17, making the
      necessary changes.


18.   As to paragraph 18:
      18.1. It is admitted that following the delivery of the Judgment, Mr Azima
            claimed that searches conducted after the First Trial had identified
            more than 150 emails received by Mr Azima and others associated
            with him between 2015 and 2018, which Mr Azima contended pointed
            to a single hacking campaign targeting Mr Azima and those
            individuals. No admissions are made regarding the timing and
            circumstances of the searches which led to the location of those
            emails.
      18.2. It is denied that all of the emails identified by Mr Azima had false
            content tailored specifically to the recipients. The majority of the
            emails were generic spam or phishing emails which did not contain
            content which was tailored specifically to the recipients.
      18.3. It is admitted that some (but not all) of the emails identified by

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             Mr Azima had some common technical features.
      18.4. It is denied that any of the features of the emails identified by Mr Azima
             indicated that they were all part of a single ‘spear-phishing’ campaign
             targeting Mr Azima and others associated with him.
      18.5. Further details of RAKIA’s case regarding these emails are provided
             at paragraphs 53 to 56 below.


19.   The Re-Amended Counterclaim has abandoned, without explanation, the
      contention previously advanced at paragraph 19 of the Amended
      Counterclaim.


20.   As to paragraph 20:
      20.1. It is admitted that documents purporting to be bank statements of
            CyberRoot Risk Advisory Private Limited (“CyberRoot”) were
            disclosed (in redacted form) in other proceedings in January 2021 and
            that those documents showed that over $1 million had been paid to
            CyberRoot between 2015 and 2017 by Vital Management Services
            (“Vital”), a company controlled by Mr Nicholas del Rosso.
      20.2. No admissions are made as to the authenticity or accuracy of the bank
            statements or as to the circumstances in which they were revealed.
      20.3. It is admitted that CyberRoot is a company based in India.
      20.4. As to the payments referred to, from early 2015, Vital was engaged
            by Dechert on behalf of RAK DEV to assist investigations into assets
            in India which had been stolen from RAKIA and the Government of
            RAK. In 2015 and 2016, Vital engaged CyberRoot to provide various
            IT, data security and forensic data recovery and analysis services
            including work in support of that investigation. In addition, in late 2016
            and early 2017, Vital engaged CyberRoot to undertake online
            reputation management work investigating websites which contained
            material damaging to the reputation of individuals associated with
            RAK. Between 2015 and 2017 Vital also engaged CyberRoot to
            undertake work for clients other than RAK DEV.
      20.5. It is denied that any of the payments to CyberRoot by Vital on behalf
            of RAK DEV related to work that concerned Mr Azima or involved any
            instructions to engage in computer hacking or disseminating material

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               obtained through hacking.


21. As to paragraph 21:
      21.1. Mr Buchanan was the owner and director of Gravitas International FZE.
              Mr Buchanan has never owned or had any involvement with a company
              named Gravitas International LLC (“Gravitas”).
      21.2. No admissions are made as to the authenticity of the documents
              referred to in paragraph 21.
      21.3. It is not admitted that those documents accurately record payments to
              CyberRoot by Gravitas.


22.    As to paragraph 22:
       22.1    It is admitted that in a witness statement dated 11 February 2021
               Mr Jonas Rey states that he was informed by a former CyberRoot
               employee named Vikash Kumar Pandey that he and others at
               CyberRoot had hacked Mr Azima’s computers and emails on the
               instruction of Vital.
       22.2    The evidence which Mr Rey records as being provided by Mr Pandey
               is implausible and unreliable. In particular:
               (a)    Mr Rey’s claim in his witness statement that Mr Pandey (with
                      whom he had apparently had no previous contact) was
                      “forthcoming” and “boastful” about his alleged involvement in
                      hacking is inherently implausible.
               (b)    Mr Azima’s solicitors failed to disclose that several months
                      before the date of Mr Rey’s statement they had been in direct
                      contact with Mr Pandey and that during the course of their
                      communications with Mr Pandey they had (i) threatened Mr
                      Pandey with litigation and offered him “a single opportunity to
                      co-operate” with Mr Azima in order to avoid proceedings being
                      brought against him; (ii) offered to pay Mr Pandey substantial
                      sums of money (potentially more than $16,000 per month) in
                      exchange for the provision of ongoing “consultancy” “services”
                      in support of Mr Azima’s case against RAKIA; and (iii) produced
                      and sent to Mr Pandey a draft “Consultancy Agreement”
                      enshrining this proposed arrangement.

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             (c)   According to Mr Rey, his oral discussion with Mr Pandey took
                   place through two intermediaries (one of whom is anonymous)
                   who acted as interpreters of Mr Rey’s questions to Mr Pandey
                   and of Mr Pandey’s answers to those questions. Written
                   messages which allegedly emanated from Mr Pandey were
                   also transmitted to Mr Rey indirectly via those intermediaries.
                   Neither of those intermediaries has provided a witness
                   statement. Accordingly, Mr Rey’s evidence about what he was
                   allegedly told by Mr Pandey is uncorroborated multiple hearsay
                   about statements allegedly made in a foreign language.
      22.3   Save as set out above, paragraph 22 is not admitted.


22A. As to paragraph 22A:
      22A.1 No admissions are made regarding the alleged expertise or activities
             of Aditya Jain or Cyber Defence and Analytics or Mr Jain’s alleged
             ownership of Cyber Defence and Analytics.
      22A.2 No admissions are made regarding the existence, content or accuracy
             of any alleged admissions made by Mr Jain.


23.   As to paragraph 23:
      23.1. Vital was instructed by Dechert to carry out work for RAK DEV in
             connection with an investigation into assets misappropriated from
             RAKIA and the RAK Government and in connection with certain
             related online reputation management work. Paragraph 20.4 above is
             repeated.
      23.2. It is admitted that Mr del Rosso and Vital were instructed by Dechert
             on behalf of RAK DEV to arrange for the download of the hacked data
             via the Torrents.
      23.3. It is denied that Vital was instructed to carry out work for RAKIA at any
             relevant time. It is further denied that Vital provided instructions to
             CyberRoot for or on behalf of RAKIA.


24.   Paragraph 24 is admitted as a summary of the relevant proceedings between
      Mr Al Sadeq and Mr Gerrard, Dechert, Mr Hughes and Ms Black (“the
      Al Sadeq Proceedings”) and the proceedings between Stokoe Partnership

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       Solicitors and Mr Paul Robinson, Mr Oliver Moon, Mr Patrick Grayson and
       Mr Page.


 25.   As to paragraph 25:
       25.1. It is denied that Mr Grayson provided services to RAKIA (whether
             through GPW or otherwise) in regard to “the RAK Project”. There was
             no such project.
       25.2. Mr Grayson did not provide services to RAKIA (whether through GPW
             or otherwise) in regard to the investigations into Dr Massaad and his
             associates in or before 2016. Accordingly, RAKIA was not under any
             obligation to identify Mr Grayson as providing investigative services to
             RAKIA in or before 2016, and it did not do so.
       25.3. No admissions are made regarding the alleged introduction of Mr Jain
             to Mr Grayson in August 2019 or any “indicat[ion]” allegedly provided
             by Mr Grayson to Mr Jain.
       25.4. No admissions are made regarding any “investigation” being
             undertaken by or on behalf of Mr Azima or in respect of Mr Azima’s
             intention regarding any future application to join Mr Grayson as a
             defendant.


 26.   Paragraph 26 is admitted.


 27.   RAKIA does not plead to paragraph 27 as it contains no relevant averments.


III. THE HACKING
A. THE “RAK PROJECT”
 28.   As to paragraph 28:
       28.1. Dr Massaad was RAKIA’s chief executive officer between 2005 and
             2012. In 2012, RAKIA discovered that Dr Massaad had engaged in
             systematic wrongdoing and, in conjunction with various others, had
             conspired to defraud RAKIA and other RAK-owned entities of assets
             worth hundreds of millions of dollars.
       28.2. Dr Massaad absconded from RAK and was subsequently tried,
             convicted and sentenced in absentia for an array of fraud,



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            embezzlement and bribery offences.
      28.3. Following the discovery of Dr Massaad’s frauds, RAKIA sought to
            engage in negotiations with Dr Massaad and his representatives with
            a view to locating and recovering the assets misappropriated by
            Dr Massaad and his criminal associates. In the context of those
            negotiations, Dr Massaad made false assertions that he was owed
            sums in connection with his work as RAKIA’s chief executive.
      28.4. Subject to the above, paragraph 28 is admitted.


29.   Paragraph 29 is admitted.


30.   Paragraph 30 is denied. The term “the RAK Project” was not generally used
      to describe the investigations into Dr Massaad and the persons associated
      with him.


B. RAKIA’S AGENTS
31.   As to paragraph 31:
      31.1. It is admitted that RAKIA engaged Dechert to provide legal advice and
            assistance in connection with its disputes with Dr Massaad and his
            associates.
      31.2. RAKIA did not separately engage any individual partners of Dechert.


32.   As to paragraph 32:
      32.1. It is denied that RAKIA engaged the persons listed in subparagraphs
            a. to d. as alleged in paragraph 32.
      32.2. The persons listed were engaged as follows:
            (a)    Mr Page was engaged on behalf of the Ruler and the
                   Government of RAK.
            (b)    From around September 2014 Mr del Rosso and Vital were
                   engaged by Dechert on behalf of RAK DEV to undertake work
                   relating to the investigation of assets stolen from RAKIA and/or
                   the Government of RAK. Paragraph 20 above is repeated. In
                   addition, in August and September 2016 Mr del Rosso and Vital
                   were engaged by Dechert on behalf of RAK DEV to assist in
                   retrieving the hacked data from the internet.

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            (c)    Karv Communications was not engaged by RAKIA (whether
                   directly or indirectly) or any other RAK related entity to
                   investigate or gather information about Dr Massaad or anyone
                   else. At all relevant times, Karv Communications provided
                   advice on public relations and media management. Mr Andrew
                   Frank was an employee of Karv Communications and Mr Amir
                   Handjani was a senior adviser to the company.
            (d)    RAKIA did not, at any relevant time, engage Mr Grayson
                   (whether through GPW or otherwise) to investigate or gather
                   information from and about Dr Massaad and his associates.
      32.3. With the exception of the above, paragraph 32 is not admitted.


33.   As to paragraph 33:
      33.1. It is admitted that from late 2014 Mr Buchanan was engaged by RAK
            DEV to deal with certain of RAKIA’s affairs.
      33.2. It is admitted that Mr Buchanan had authority to take steps on RAKIA’s
            behalf.
      33.3. With the exception of the above, paragraph 33 is denied.


34.   As to paragraph 34:
      34.1. It is admitted that Mr Buchanan provided instructions to Mr Gerrard
            (on behalf of Dechert) in relation to legal advice and assistance which
            fell within the scope of the Dechert Retainer.
      34.2. It is denied that Mr Gerrard provided instructions to Mr del Rosso and
            Vital on behalf of RAKIA. Paragraph 32.2(b) above is repeated.
      34.3. It is denied that Mr Buchanan or Mr Gerrard provided instructions to
            Mr Page (and, through Mr Page, his company Stuart Page MEFZ) on
            behalf of RAKIA.
      34.4. Save as set out above, paragraph 34 is denied.


35.   As to paragraph 35:
      35.1. It is denied that any of the Additional Defendants, Mr del Rosso or
            Mr Grayson (or their respective companies) was a servant of RAKIA
            at any time.
      35.2. It is admitted that, at the relevant time, Dechert was engaged by

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         RAKIA to provide legal advice and assistance pursuant to the Dechert
         Retainer. It is admitted that Dechert and Mr Gerrard were RAKIA’s
         agents insofar as they performed that engagement on the instructions
         of RAKIA within the scope of the Dechert Retainer. If and insofar as
         Dechert or Mr Gerrard did any acts outside the scope of such
         instructions, such acts were not done with the authority or at the
         instigation of RAKIA, nor were they ratified by RAKIA.
   35.3. It is admitted that at the relevant times Mr Buchanan was an agent of
         RAKIA.
   35.4. It is denied that Mr Page (or his company) were agents of RAKIA.
   35.5. It is denied that Mr del Rosso (or his company) were agents of RAKIA.
   35.6. It is denied that Mr Grayson (or his company) were agents of RAKIA.
   35.7. As to paragraph 35a.:
         (a)    It is admitted that, insofar as he was acting as the directing
                mind and will of RAKIA, Mr Buchanan’s knowledge and
                conduct was attributable to RAKIA.
         (b)    It is further admitted that RAKIA is vicariously liable for
                Mr Buchanan’s conduct while he was acting within the scope
                his authority.
         (c)    It is admitted that RAKIA is vicariously liable for Mr Gerrard’s
                conduct while he was acting on the instructions of RAKIA within
                the scope of the Dechert Retainer.
   35.8. As to subparagraph 35b.:
         (a)    It is alleged that RAKIA “ratified” unspecified “acts or
                omissions”. It is assumed that this is intended to refer to alleged
                ratification of acts or omissions which were outside the scope
                of the authority of the relevant agent. If (which is not admitted)
                any of RAKIA’s agents committed any acts or omissions which
                were outside the scope of their authority, then it is denied that
                RAKIA ratified such acts or omissions.
         (b)    It is denied that the Ruler ratified any unlawful acts or omissions
                of any of RAKIA’s agents.
         (c)    It is denied that the Ruler was the de facto or de jure owner of
                RAKIA. RAKIA is and was at all relevant times owned by the
                Government of RAK.

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            (d)    It is denied that the Ruler was a de facto or de jure director of
                   RAKIA. RAKIA has a Board of Directors which, at the relevant
                   times, did not include the Ruler.
            (e)    It is denied that Mr Buchanan ratified any unlawful acts
                   allegedly committed by any of RAKIA’s agents.
            (f)    If (which is not admitted) Mr Gerrard had purported to ratify any
                   unlawful acts allegedly committed by any of RAKIA’s agents,
                   such purported ratification would be outside the scope of the
                   authority conferred upon Dechert and Mr Gerrard under the
                   Dechert Retainer and therefore would not constitute a
                   ratification by or on behalf of RAKIA.
      35.9. As to paragraph 35c.:
            (a)    It is admitted that RAKIA was vicariously liable for the acts and
                   omissions of Dechert, Mr Gerrard and Mr Buchanan while they
                   were acting within the scope of their respective authorities to
                   act on RAKIA’s behalf.
            (b)    It is denied that RAKIA is vicariously liable for the acts or
                   omissions of Mr Page, Mr del Rosso or Mr Grayson (or their
                   companies) who were not its agents. Accordingly, if (which is
                   not admitted) Mr Page, Mr del Rosso or Mr Grayson (or their
                   companies) engaged in any such unlawful acts or omissions,
                   those acts or omissions were neither authorised, instigated nor
                   ratified by RAKIA and RAKIA is not vicariously liable in respect
                   of them.
      35.10. With the exception of the above, paragraph 35 is denied.


 1. MR PAGE
36.   As to paragraph 36:
      36.1. It is denied that Mr Page was engaged by RAKIA. His engagement
            was on behalf of the Ruler and the Government of RAK to perform
            investigatory and related work relating, inter alia, to Dr Massaad and
            his associates. Pursuant to that engagement, Mr Page provided
            briefings and reports approximately once a month. Mr Page was not
            appointed as an agent of the Ruler, the Government of RAK or any
            other RAK entity but was, at all relevant times, an independent

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            contractor.
      36.2. With the exception of the above, subparagraphs a. and b. are denied.
      36.3. As to subparagraph c., it is admitted that pursuant to an agreed
            security protocol, following Mr Page’s briefings the hard copy of any
            written report discussed at the briefing was intended to be returned to
            Mr Page, with the intention that Mr Page would dispose securely of it.
            This arrangement was intended to ensure that the confidential
            contents of the reports remained secure and protected against
            unauthorised access by third parties. It is denied (if it is alleged) that
            there was anything improper about this arrangement.
      36.4. As to subparagraph d., it is admitted that Mr Page received very
            substantial remuneration of at least $100,000 a month for his services.
            It is denied that the amount of Mr Page’s remuneration supports any
            inference that the services he provided were risky.
      36.5. With the exception of the above, paragraph 36 is denied.


37.   As to paragraph 37:
      37.1. Subparagraphs a. and c. are admitted. In none of the cases referred
            to in those subparagraphs was Mr Page found by the court to have
            engaged in hacking or to have otherwise sought to obtain access to
            information unlawfully.
      37.2. As to subparagraph d., it is admitted that in Re Al M [2019] EWHC
            3415 (Fam) the Family Division of the High Court made findings
            relating to Mr Page in the context of family law proceedings in which
            Mr Page was neither a party nor a witness and which did not concern
            any matters or allegations relating to RAKIA or the Government or
            Ruler of RAK. The court did not make any findings that Mr Page’s
            conduct was criminal.
      37.3. With the exception of the above, paragraph 37 is not admitted.


38.   The Re-Amended Counterclaim has abandoned, without explanation, the
      contention previously advanced at paragraph 38 of the Amended
      Counterclaim.


39.   The inferential averments in paragraph 39 are outside RAKIA’s knowledge

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      and are therefore not admitted.


2. MR DEL ROSSO
40.   As to paragraph 40:
      40.1. As to subparagraph a., it is admitted that Mr del Rosso engaged
            CyberRoot to provide services for RAK DEV. Paragraph 20.4 above
            is repeated. It is denied that the cost of those services indicates that
            the services were “risky” or “very” substantial.
      40.2. Subparagraph aa. is denied.
      40.3. As to subparagraph b., it is admitted that Mr del Rosso acted on the
            instructions of RAK DEV in arranging for the download of the hacked
            data from the Torrents.
      40.4. With the exception of the above, paragraph 40 is denied.


41.   Paragraph 41 is admitted.


C. THE PROJECT UPDATE
42.   As paragraph 42:
      42.1. In around January 2015, Mr Page was engaged by the Ruler to assist
            in asset tracing and recovery in respect of Dr Massaad.
      42.2. In the course of that investigation (which was not targeted at
            Mr Azima) Mr Page received intelligence that Mr Azima was involved
            with Dr Massaad and others in organising a campaign to spread
            allegations against RAK.
      42.3. By early 2015 RAKIA had not used any investigators to gather
            information on Mr Azima or others working with him (except in relation
            to Dr Massaad, whose substantial frauds and wrongdoing were the
            subject of various investigations).
      42.4. With the exception of the above, paragraph 42 is denied.


43.   As to paragraph 43:
      43.1. It is admitted that on or after the date shown on the Project Update
            (26 March 2015) Mr Page provided the Project Update to
            Mr Buchanan. It is not admitted that Mr Page provided a copy of the
            Project Update to Mr Gerrard.

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      43.2. It is denied that Mr Page briefed the Ruler on the contents of the
             Project Update.


44.   Save that the document destruction policy was Mr Page’s and the redactions
      were to remove material irrelevant to this case, paragraph 44 is admitted.


45.   Save that it is denied that Mr Cooper and Mr Behre were “later also targeted”,
      paragraph 45 is admitted as a summary of the relevant passages of the
      “Project Update” document.


46.   As to paragraph 46:
      46.1. In Mr Page’s witness statement he stated that “my briefings to clients
             are invariably oral” and that the first time he recalled hearing
             Mr Azima’s name was in early 2016. In his oral evidence Mr Page
             accepted that he was aware of Mr Azima’s name in 2015. Mr Page
             also explained that he regularly provided the Ruler with written update
             reports to accompany his oral briefings and he therefore accepted that
             the reference to briefings being “invariably oral” was therefore
             inaccurate. It is not admitted that Mr Page’s evidence in his witness
             statement was dishonest.
      46.2. It is admitted that Mr Page’s witness statement did not contain the
             information described at subparagraphs b. i. to iv.. It is not admitted
             that Mr Page intentionally concealed that information.


47.   As to paragraph 47:
      47.1. It is admitted that witness statements for the First Trial were provided
             by (amongst others) Mr Gerrard (two), Mr Buchanan (four) and the
             Ruler (one).
      47.2. It is admitted that Mr Gerrard did not refer to the Project Update in his
             witness statements. It is denied that Mr Gerrard suggested that he had
             first encountered Mr Page in August 2016. In his first statement,
             Mr Gerrard stated that he was first engaged by RAK in 2014 and that:
             “At some stage in my relationship with RAK I was introduced to Stuart
             Page”.
      47.3. Subparagraph b. is admitted. Although Mr Buchanan’s witness

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             statement did not refer expressly to Mr Buchanan’s dealings with
             Mr Page in 2015, Mr Buchanan explained that he “met with Mr Page
             every month or so” and provided details of one such meeting in
             February or March 2016. Mr Buchanan’s witness statement did not
             conceal or attempt to conceal the contact between Mr Buchanan and
             Mr Page in 2015 nor were the contents of the statement in any way
             inconsistent with the existence of that contact.
       47.4. It is admitted that the Ruler’s witness statement did not refer to
             Mr Page. It is denied that the Ruler’s witness statement suggested he
             was unaware of the Project Update or its contents. In his witness
             statement the Ruler stated that he had never seen the Project Update
             and Mr Azima was incorrect to suggest otherwise. The Ruler’s
             statement that he had never seen the Project Update was true.


 48.   As to paragraph 48:
       48.1. It is denied that Mr Buchanan and the Ruler intentionally concealed
             the true facts about the Project Update and Mr Page’s reporting.
       48.2. It is denied that RAKIA intended to procure the obtaining of any
             confidential information about Mr Azima, either through hacking or
             otherwise. Subparagraph b. is otherwise not admitted.
       48.3. Subparagraph c. refers to unspecified “proposals”. It is denied that
             RAKIA endorsed any proposals for any of Mr Azima’s confidential
             information to be obtained (either through hacking or otherwise).
             Subparagraph c. is otherwise not admitted.
       48.4. With the exception of the above, paragraph 48 is not admitted.


D. THE RULER’S INSTRUCTIONS TO “TARGET” AND “GO AFTER” MR AZIMA
 49.   As to paragraph 49:
       49.1. In April 2015 the Ruler suspected that Mr Azima may have been
             involved with Dr Massaad’s extensive criminality, and, if he was, he
             wanted appropriate civil proceedings or criminal charges to be brought
             against Mr Azima.
       49.2. Accordingly, in early April 2015 the Ruler expressed a wish to
             Mr Buchanan for Mr Azima to be targeted (in the sense of seeking and
             assessing any information as to Mr Azima’s possible role in any

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            criminal activity and, if it appeared that he had been involved in such
            activity, pursuing appropriate civil proceedings or criminal charges
            against him in respect of this).
      49.3. This expression of wishes by the Ruler was not an instruction to
            undertake particular actions but was, rather, a communication of his
            current thinking.
      49.4. With the exception of the above, paragraph 49 is denied.


50.   As to paragraph 50:
      50.1. On 4 April 2015, Mr Buchanan discussed the Ruler’s wish with
            Mr Amir Handjani (a US lawyer and director of RAK Petroleum plc)
            and Mr Naser Bustami (a member of the board of RAK DEV).
            Mr Bustami sent an email the same day proposing that he,
            Mr Handjani and Mr Buchanan “hook up and coordinate our attack”.
      50.2. Mr Handjani, in turn, advised the Ruler against seeking to pursue
            charges against Mr Azima at that time, since doing so would be likely
            to disrupt attempts to engage with Dr Massaad through his lawyer. On
            6 April 2015, Mr Handjani informed Mr Bustami and Mr Buchanan of
            this advice.


51.   As to paragraph 51:
      51.1. On 19 July 2015, Mr Buchanan sent an email to Mr Handjani in which
            he explained that Mr Bustami had informed him that the Ruler “wants
            criminal stuff taken out of letter and to go after FA”. The reference to
            “go[ing] after FA” was a reference to the prospect of pursuing some
            form of civil proceedings or criminal charges against Mr Azima.
      51.2. This was, again, not an instruction but rather an expression of the
            Ruler’s current thinking.
      51.3. With the exception of the above, paragraph 51 is denied.


52.   As to paragraph 52:
      52.1. As pleaded at paragraphs 49 to 51 above, the Ruler did not give any
            instructions to Mr Buchanan or Mr Bustami.
      52.2. It is specifically denied that the statements by the Ruler pleaded at
            paragraphs 49 to 51 were acted upon by RAKIA’s agents/alleged

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             agents taking steps to procure the hacking of Mr Azima’s data.
       52.3. For these reasons, paragraph 52 is denied.


E. MALICIOUS EMAILS RECEIVED BY MR AZIMA AND OTHERS
 53.   Paragraph 53 is admitted as a general description of the concepts of
       “phishing” and “spear-phishing”.


 54.   As to paragraph 54:
       54.1. It is admitted that on various dates in 2015 and 2016 a number of
             apparently suspicious emails (which included phishing and spear-
             phishing emails) were sent to Mr Azima and several other persons
             who were associated with him and/or Dr Massaad.
       54.2. The emails listed in Schedule A are admitted.


 55.   As to paragraph 55:
       55.1. It is denied that the content, timing, provenance and other
             characteristics of these emails indicate that they were sent as part of
             a single campaign targeting the recipients.
       55.2. The majority of the emails listed in Schedule A appear to be common
             generic phishing or spam emails, which are likely to have been sent
             to many other individuals with no association with Dr Massaad or
             Mr Azima.
       55.3. As to the remainder of paragraph 55:
             (a)    Subparagraph a. is admitted. It is denied that the five emails
                    indicate that other emails in Schedule A were sent as part of a
                    single campaign targeting the recipients.
             (b)    As to subparagraph b.:
                    (i)      It is admitted that on 11 occasions substantively
                             identical messages were sent to two recipients
                             (Dr Massaad and Mr Cooper) at similar times from the
                             same email address. Most of those 11 pairs of emails
                             were sent from different email addresses.
                    (ii)     The 11 pairs of emails sent to Dr Massaad and
                             Mr Cooper appear to be generic phishing emails which
                             did not contain any content specifically targeted at

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                        Dr Massaad and Mr Cooper. There is nothing to indicate
                        that any of those emails was specifically targeted at
                        Dr Massaad and Mr Cooper or that they were sent by
                        the same person or group of persons.
                (iii)   Save as set out above, there are no other examples in
                        Schedule A of substantively identical emails being sent
                        from the same email address to more than one of the
                        individuals listed in Schedule A.
   55.4. As to subparagraph c., Mr Azima received a number of phishing
         emails including emails purporting to be from family members or
         business associates, an email purporting to be from Ms Beudjekian,
         and generic phishing emails which were not tailored to Mr Azima in
         any way.
   55.5. Subparagraph d. is admitted. Mr Behre also received generic phishing
         emails which were not tailored to him in any way.
   55.6. As to subparagraph e., Mr Behre received two emails at 6:26am and
         6:42am on 26 March 2015 and several further emails between
         27 March and 2 April 2015. It is denied that there is any connection
         between the Project Update and the sending of those messages.
   55.7. As to subparagraph f., it is admitted that Mr Azima received a single
         email on 7 April 2015 and four emails on 10 April 2015. It is denied
         that there was any connection between those emails and the Ruler’s
         alleged “instruction” to target Mr Azima.
   55.8. As to subparagraph g.:
         (a)   It is admitted that Mr Azima received emails listed in Schedule A
               on 7, 18 and 20 August 2015. It is not admitted (if it is alleged)
               that those emails were all spear-phishing emails.
         (b)   It is not admitted (if it is alleged) that Mr Azima received any
               other phishing or spear-phishing emails in August 2015.
         (c)   Further and in any event, it is denied that there was any
               connection between the Ruler’s expression of his wish (reflected
               in an email sent by Mr Buchanan on 19 July 2015) to “go after”
               Mr Azima and Mr Azima’s receipt of particular emails several
               weeks later in August 2015.
   55.9. Paragraph h. is admitted. Mr Cooper received 47 emails listed in

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             Schedule A in April and May 2015. Many of those emails appear to be
             generic spam or phishing emails which were not tailored to Mr Cooper
             in any way.
      55.10. As to subparagraph i., it is admitted that a small number of emails with
             false news regarding Mr Azima and Dr Massaad and their business
             operations were sent.
      55.11. Subparagraph j. is not admitted.
      55.12. As to subparagraph k.:
             (a)    The Re-Amended Counterclaim does not specify the “technical
                    characteristics” referred to; nor does it identify which of the
                    emails are said to possess those unspecified “technical
                    characteristics”. If it is alleged that the presence of MESVR,
                    “DidTheyReadIt?” and/or “Emkei” features in particular emails
                    indicate that these emails were sent as part of a single
                    campaign targeted at Mr Azima and his associates, this
                    allegation is denied. In support of this denial:
                    (i)     MESVR is a very common tool used by attackers to
                            mask the true sender of an email. Its use is not indicative
                            that emails containing this feature were sent by a single
                            attacker or group of hackers.
                    (ii)    DidTheyReadIt? is a standard tool which is commonly
                            used for legitimate purposes and is unlikely to be used
                            by proficient or sophisticated hackers.
                    (iii)   Emkei is a commonly used tool for sending spoof or
                            anonymised emails. Of         the emails which were
                            apparently sent by the Emkei service, the majority were
                            generic spam emails which were not specifically tailored
                            or aimed at particular individuals.
                    (iv)    Accordingly, the fact that one or more of these features
                            were present in a number of suspicious emails does not
                            indicate that those emails were sent by the same
                            attacker or group of attackers.
      55.13. Except as set out above, paragraph 55 is not admitted.


56.   Paragraph 56 is denied. RAKIA did not instruct anyone (whether directly or

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       indirectly) to send any phishing or spear-phishing emails. If (which is not
       admitted) any of the other Additional Defendants gave instructions to send
       any of the emails in Schedule A, this was done without the knowledge or
       authority of RAKIA and was not ratified by RAKIA.


F. SUSPICIOUS ACCESS TO CERTAIN EMAIL ACCOUNTS
 57.   The matters pleaded in paragraph 57 are outside RAKIA’s knowledge and
       are therefore not admitted.


G. THE “VIEW FROM THE WINDOW” DOCUMENT
 58.   As to paragraph 58:
       58.1.   The “View from the Window” document was prepared by Karv
               Communications which was not a consultant to RAKIA. Paragraph
               32.2(c) above is repeated.
       58.2. With the exception of the above, paragraph 58 is admitted. RAKIA will
               refer to the document at trial for its full terms.


 59.   As to paragraph 59:
       59.1. It is denied that Mr Buchanan was “leading the RAK Project”. There
               was no such project. Mr Buchanan was leading the investigations into
               Dr Massaad and the persons associated with him.
       59.2. Subparagraph b. is admitted.


 60.   As to paragraph 60:
       60.1. The “View from the Window” document was written by Mr Frank. It
               was not written by RAKIA, Mr Buchanan or Mr Gerrard and therefore
               no inference can be drawn from any alleged omission by RAKIA,
               Mr Buchanan or Mr Gerrard to explain the basis or intended meaning
               of particular words used by Mr Frank in that document.
       60.2. In any event, as is apparent from the form and content of the “View
               from the Window” document, it consisted of draft and self-evidently
               incomplete notes written in rough bullet-point form by a public
               relations adviser. It was not (and did not purport to be) an account of
               findings reached by an investigator. The expression “exposed as fact”
               in the document must be read and understood in this context. Further:

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            (a)          The expression “exposed as fact” appears in the eighth line of
                         the document and was not linked specifically or exclusively to
                         the reference to Mr Azima contained in the fifteenth and
                         sixteenth lines of the document.
            (b)          The suggestion that the expression “exposed as fact” must be
                         read literally is untenable in circumstances where some of the
                         matters to which that expression relates were themselves
                         expressed in qualified or tentative terms which are inconsistent
                         with a statement of unqualified fact (for example, the statement
                         that Mr Azima “appears to have orchestrated…fraudulent
                         activities” and the reference to “Possible gun running, drug
                         transport, plane sales”).


61. The inference pleaded at paragraph 61 is denied. In support of this denial,
   RAKIA will rely on the following matters:
    61.1. At the time when the “View from the Window” document was produced
           by Mr Frank on 29 December 2015:
          (a)     The negotiations between Mr Azima and RAKIA regarding the
                  settlement of Mr Azima and HeavyLift’s claims concerning the
                  RAK-HeavyLift Training Academy joint venture were ongoing.
                  RAKIA’s entry into the Settlement Agreement (which was a
                  consequence of Mr Azima’s fraudulent misrepresentations) did
                  not occur until more than two months later.
          (b)     The negotiations between RAKIA and Mr Azima concerning the
                  Proposed ISR Joint Venture had barely begun. In particular:
                  (i)      Four of the five alleged false representations made by
                           Mr Azima regarding the Proposed ISR Joint Venture were
                           not made until late January or February 2016 (i.e. several
                           weeks after the date of the “View from the Window”
                           document).
                  (ii)     The fifth false representation was made in a document sent
                           to Mr Buchanan on the evening of 28 December 2015
                           (i.e. just one day before the “View from the Window”
                           document was produced). The emails from Mr Adams and
                           Mr Lepper which demonstrated the falsity of               that

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                        representation were not written and sent until at least
                        several weeks later.
                   Accordingly, as at the date of the “View from the Window”
                   document, RAKIA did not have any potential claim for fraudulent
                   misrepresentation against Mr Azima and it could not have known
                   that Mr Azima had committed “numerous frauds” against it.
       61.2. Further, RAKIA’s lack of knowledge in late 2015 regarding (1) Mr
             Azima’s frauds and wrongdoing in relation to the Sham Referral
             Agreement, (2) Mr Azima’s false claim to have introduced the
             prospective purchasers of the Hotel to RAKIA, (3) the falsity of the
             HeavyLift Investment Misrepresentation, and (4) Mr Azima’s role in
             relation to the production of the “Security Assessment”, is reflected by
             the fact that RAKIA’s original pleaded case served on 30 September
             2016 did not contain any allegations or claims regarding these matters.
             Instead:
             (a)   RAKIA’s claims and allegations based on the Sham Referral
                   Agreement and Mr Azima’s false representation that he had
                   introduced the prospective purchasers of the Hotel to RAKIA,
                   were not advanced until shortly before RAKIA served its Amended
                   Particulars of Claim on 11 December 2017.
             (b)   RAKIA’s claims and allegations concerning the HeavyLift
                   Investment Misrepresentation and the “Security Assessment”
                   were not advanced until shortly before RAKIA served its Re-
                   Amended Particulars of Claim on 19 July 2018.


H. THE RULER’S “WIDER OBJECTIVES”
 62.   Paragraph 62 is admitted.


 63.   As to paragraph 63:
       63.1. The Settlement Agreement was negotiated and drafted by Dechert
              (representing RAKIA) and Miller & Chevalier (representing Mr Azima
              and HeavyLift) over a period of several weeks in late 2015 and early
              2016. During the course of the negotiations regarding the terms of the
              agreement, Dechert and Miller & Chevalier both made a number of
              revisions to the draft terms and text of the Settlement Agreement.

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      63.2. Paragraph 63 is otherwise admitted.


64.   Paragraph 64 is admitted. RAKIA will refer to the letter of recommendation
      at trial for its full terms.


65.   As to paragraph 65:
      65.1. The inferences pleaded are an impermissible attempt to reopen
              matters which are the subject of factual findings in the Judgment which
              the Court of Appeal has held are final and incapable of being reopened
              in the trial of the Counterclaim. Paragraph 65 is therefore liable to be
              struck out.
      65.2. Without prejudice to this contention, paragraph 65 is denied in that:
             (a)      The expression “wider objectives” in the letter seeking the
                      Ruler’s approval of the Settlement Agreement was a reference
                      to the aims of (1) resolving other potential claims and (2)
                      attempting to reach a settlement with Dr Massaad. The latter
                      aim was expressly reflected in Recital (E) to the Settlement
                      Agreement, which stated that: “Mr. Azima has recently
                      provided negotiation assistance to RAKIA on an informal basis
                      which RAKIA recognises and appreciates”.
             (b)      The purposes of the good faith clause in the Settlement
                      Agreement were:
                      (i)     to provide RAKIA with an assurance that Mr Azima’s
                              representations regarding the value of HeavyLift’s
                              contribution to the Training Academy Joint Venture were
                              correct, in circumstances where RAKIA was unable to
                              verify independently what, if anything, was properly owed
                              to HeavyLift;
                       (ii)   to provide RAKIA with an assurance that Mr Azima was
                              acting (and would continue to act) in good faith in the
                              context of the ongoing sensitive discussions between
                              RAKIA’s lawyers and Mr Azima concerning matters
                              relating to Dr Massaad; and
                       (iii) to reflect the fact that RAKIA’s entry into the Settlement
                              Agreement was premised on what RAKIA regarded as a

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                      moral obligation to Mr Azima, rather than a legal
                      obligation, and it was therefore appropriate for the
                      payment of $2.6 million to Mr Azima pursuant to that
                      moral obligation to be accompanied by an assurance as
                      to the probity and integrity of Mr Azima’s conduct towards
                      RAKIA and its related entities.
        (c)   Had RAKIA wished to make damaging allegations against
              Mr Azima which would attract significant publicity, it could have
              achieved that objective without having to engage in a
              convoluted process of negotiating and drafting a Settlement
              Agreement incorporating a good faith clause, paying Mr Azima
              $2.6 million pursuant to that Settlement Agreement, and then
              embarking upon protracted and costly legal proceedings in
              order to recoup those monies. In particular:
              (i)     RAKIA could have publicised Mr Azima’s wrongdoing
                      and made damaging allegations about his conduct
                      without having to resort to legal proceedings at all.
              (ii)    If (which is denied) RAKIA had been aware in early 2016
                      of Mr Azima’s frauds concerning the Sham Referral
                      Agreement and the false representation that he
                      introduced the buyers of the Hotel to RAKIA, then RAKIA
                      could have issued proceedings for unlawful means
                      conspiracy against Mr Azima in respect of this
                      wrongdoing. RAKIA’s ability to bring such a claim was in
                      no way dependent upon the existence of the good faith
                      clause.
        (d)   Further, if RAKIA had intended to use the Settlement
              Agreement as a vehicle for causing serious damage to
              Mr Azima’s reputation, then it would have been illogical for
              RAKIA to agree to the inclusion in the Settlement Agreement
              of:
               (i)    a recital which recorded that: “Each Party has the
                      greatest of respect for the other Parties”;
               (ii)   a recital which recorded RAKIA’s “recogni[tion] and
                      appreciate[ion]”    for   Mr      Azima’s   assistance   in

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                            negotiations; and
                    (iii)   an express “NON-DISPARAGEMENT” clause, which
                            provided that: “Each Party agrees not to disparage any
                            other Party... In particular, the Parties shall not at any
                            time publish or otherwise make any statement
                            concerning any other Party…which is derogatory or
                            disparaging or which is intended or could reasonably be
                            expected to lower their respective reputations.”
      65.3. It is specifically denied that at the date when the Settlement
            Agreement was drafted and entered into RAKIA had accessed and
            analysed data from Mr Azima’s computers and emails. Paragraph 61
            above is repeated.


I. THE MEETING OF 16 JULY 2016
66.   As to paragraph 66:
      66.1. It is admitted that, on 16 July 2016, a meeting was held between
            Mr Azima, Mr Buchanan, Mr Gerrard, and a Dechert associate (“the
            16 July Meeting”).
      66.2. This was a without prejudice meeting. In his Re-Re-Amended Defence
            to RAKIA’s claims, Mr Azima disregarded the without prejudice status
            of the 16 July Meeting by pleading allegations about what was said at
            that   meeting.     In   a   judgment   dated    19   November      2019,
            HHJ McCahill QC held that since the 16 July Meeting had taken place
            on a without prejudice basis, the contents of the meeting should not
            have been referred to in Mr Azima’s statement of case, but that since
            Mr Azima had disregarded this RAKIA was entitled to respond to
            those allegations in its Re-Amended Reply. RAKIA responds to the
            allegations about the 16 July Meeting at paragraphs 66 and 67 of the
            Re-Amended Counterclaim on the same basis and without this
            response entailing any waiver or loss of the without prejudice privilege
            status of the contents of that meeting.
      66.3. As to the matters at subparagraphs a. to c.:
            (a)    Subparagraph a. is admitted. Mr Gerrard had previously asked
                   Mr Azima about whether he had always acted in the interests
                   of the Ruler and referred to issues concerning HeavyLift and

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               Eurasia Hotel Holdings Limited (“Eurasia”). Those questions
               arose from:
               (i)    The publication of the so-called “Panama Papers” (a
                      leak of documents from the Panamanian law firm
                      Mossack Fonseca) in around April 2016, which
                      contained documents that raised questions about the
                      nature of Mr Azima’s interest in Eurasia; and
               (ii)   An investigation by Dechert in 2016 into complex and
                      unusual    transactions   involving    changes     in   the
                      ownership of HeavyLift, which had at various times in
                      the past been partly owned by various RAK entities
                      before Mr Azima became the sole shareholder.
         (b)   As to subparagraph b.:
               (i)    It is admitted that Mr Gerrard’s questions to Mr Azima
                      indicated that he had concerns about the conduct of
                      HeavyLift and Eurasia. No admissions are made
                      regarding Mr Gerrard’s state of knowledge regarding
                      this. It is denied (if it is alleged) that Mr Gerrard asked
                      questions to Mr Azima in Mr Buchanan’s presence
                      which indicated that Mr Gerrard believed that Mr Azima
                      had engaged in any of the fraudulent activities which
                      subsequently formed the subject of RAKIA’s claims
                      against Mr Azima.
               (ii)   The fact that Mr Gerrard asked questions which
                      reflected the existence of concerns on his part about the
                      conduct of HeavyLift and Eurasia is not inconsistent with
                      Mr Buchanan having only believed that Mr Azima had
                      engaged in fraudulent activities and wrongdoing after
                      RAKIA obtained and analysed the hacked data following
                      its publication on the internet in August and September
                      2016.
         (c)   Subparagraph c. is denied. In particular:
               (i)    Mr Gerrard did not want, nor did he request or seek to
                      persuade, Mr Azima to change his allegiance from
                      Dr Massaad to RAKIA. Such a change of allegiance

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                             would have been counterproductive and contrary to
                             RAKIA’s     interests   in   the   negotiations,   since
                             communicating with Dr Massaad was already very
                             difficult and it was likely that Dr Massaad would
                             disengage from the negotiations altogether if he had
                             reason to believe that Mr Azima had taken RAKIA’s side
                             in the negotiations.
                    (ii)     During the 16 July Meeting Mr Gerrard reported that
                             Mr Kirby Behre (who was counsel to both Dr Massaad
                             and Mr Azima) had suggested that civil and criminal
                             claims against Dr Massaad would result in “mutually
                             assured destruction”. Mr Gerrard went on to say that the
                             further the matter went, the more likely it was that
                             collateral damage would occur because it would be
                             difficult to keep the scope of RAKIA’s actions within a
                             narrow compass. There was no suggestion or threat that
                             damage would be caused to Mr Azima.


 67.   Paragraph 67 is denied insofar as it relates to the knowledge and
       expectations of RAKIA and is otherwise not admitted.


J. THE EMAILS “BREAKING THE NEWS”
 68.   Paragraph 68 is admitted.


 69.   Paragraph 69 is admitted.


 70.   Paragraph 70 is admitted.


 71.   As to paragraph 71:
       71.1. It is denied that the emails referred to at paragraphs 68 to 70 were
             written to confect a documentary trail purporting to evidence the
             “innocent discovery” of the Torrents as alleged or at all.
       71.2. The contention that those emails were sent for the purpose of creating
             a false narrative that RAKIA first learned of the websites on 15/16
             August 2016 is inconsistent with the fact neither RAKIA nor any of its

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         witnesses ever sought to advance any such narrative (either by
         reference to those emails or otherwise). On the contrary:
         (a)    In its Part 18 response dated 6 November 2018, RAKIA stated
                that Mr Buchanan had first become aware of the publicly
                available links “in the first week of August 2016”.
         (b)    As pleaded at paragraph 71a.i.-ii. of the Re-Amended
                Counterclaim, RAKIA’s evidence at trial was that:
                (i)    Mr    Gerrard    had   discussed    the   websites   with
                       Mr Buchanan and Mr del Rosso on 8 or 9 August 2016;
                       and
                (ii)   Mr del Rosso, on Mr Gerrard’s instruction, engaged NTi
                       to begin downloading the hacked data on 12 August
                       2016.
         (c)    In his first witness statement, Mr Buchanan admitted that the
                reference (in the email described at paragraph 70 of the Re-
                Amended Counterclaim) to Mr Page having informed
                Mr Buchanan “last night” was inconsistent with the fact that
                Mr Buchanan had initially been informed of the existence of the
                first tranche of the hacked data approximately a week or so
                earlier. If Mr Buchanan had been deliberately seeking to
                fabricate a documentary trail to support a false account about
                when and how he had learned of the hacked data, he would
                not have included a statement in that fabricated documentary
                trail which was inconsistent with the false account he was
                seeking to support.
   71.3. Further, three of the emails sent by Mr Gerrard, Mr del Rosso and Mr
         Buchanan on 15/16 August 2016 contained references to the website
         having been “set up”, “emanat[ing]” and “based” in the “UAE”. If
         Mr Gerrard, Mr del Rosso and Mr Buchanan were seeking to create a
         false documentary trail to divert suspicion from themselves and
         RAKIA, then it would be illogical for them to refer to the website in
         question being established in, emanating from and/or based in the
         UAE.
   71.4. As to the specific matters pleaded at paragraph 71a. i.-vii.:
          (a)   Subparagraphs i.-ii. are admitted. Paragraph 71.2 of this

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                      Defence to the Re-Amended Counterclaim is repeated.
               (b)    Subparagraph iii. is admitted.
               (c)    Subparagraph iv. is not admitted.
               (d)    Subparagraph v. is admitted.
               (e)    Subparagraph vi. is not admitted.
               (f)    Subparagraph vii. is admitted.
        71.5. Paragraph 71b. is denied.


K. THE TORRENTS
 72.    Save that it is not admitted that the hacked data contained information which
        was private, confidential or privileged, paragraph 72 is admitted.


 73.    As to paragraph 73:
        73.1. It is admitted that the hacked data was apparently obtained without
               Mr Azima’s authorisation and included emails from the 10 email
               accounts listed at subparagraph b. and the types of data listed in
               subparagraph c.
        73.2. RAKIA     does     not   know     the    precise   numbers     of   emails,
               photographs/images and voice recordings contained in the hacked
               data. Subparagraph d is therefore not admitted.
        73.3. Subparagraph e. is not admitted.


 74.    As to paragraph 74:
       74.1. In relation to subparagraphs a.-c.:
               (a)    It is admitted that in August and September 2016 RAKIA
                      acquired (through NTi and Vital) copies of the hacked data from
                      the internet where the hacked data was publicly available via
                      the Torrents. RAKIA thereafter analysed the hacked data for
                      the purpose of investigating and establishing the extent of
                      Mr Azima’s frauds.
               (b)    It is denied that RAKIA was responsible for the hacking or
                      publication of the hacked data on the Torrents. RAKIA does not
                      know who was responsible for this.
        74.2. As to subparagraph d., it is admitted that on 23 September 2016
               Dechert sent a pre-action letter to Mr Azima’s US lawyers, Miller &

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            Chevalier, which referred to documents obtained from the hacked
            data and enclosed copies of some of those documents. It is denied
            that any of those documents (which contained evidence of Mr Azima’s
            frauds and which had been obtained from the publicly available
            Torrents) were confidential. Paragraph 6.3 above is repeated.
      74.3. Subparagraphs e. and f. are admitted.


75.   As to paragraph 75:
      75.1. Subparagraph a. is admitted.
      75.2. Save that it is denied that RAKIA “changed” its case regarding how it
            learned of and obtained the hacked data, subparagraph b. is admitted.
            The reference to a public relations company in Mr Hughes’ witness
            statement dated 13 July 2018 was intended to be a reference to
            Mr Page and his company, Stuart Page MEFZ. Mr Page and
            Stuart Page MEFZ were erroneously described as a “public relations
            company”. The explanation contained in Mr Hughes’ witness
            statement and in RAKIA’s further information dated 6 November and
            11 December 2018 accurately described both:
            (a)    the identity of the person (Mr Page) who first informed RAKIA
                   of the existence of publicly available links to the first and
                   second Torrents containing links to the hacked data; and
            (b)    what RAKIA was told by Mr Page about how he had learned of
                   those publicly available links.


76.   As to paragraph 76:
      76.1. It is denied that RAKIA’s account of how it obtained the hacked data
            was not supported by any documentary evidence. RAKIA disclosed
            various contemporaneous emails sent to/from Mr Buchanan,
            Mr Gerrard, Mr del Rosso and two employees at NTi, Richard Garcia
            and Jessica Gray, in respect of the discovery and acquisition of the
            hacked data.
      76.2. Save that it is assumed that the reference to an email sent by Mr del
            Rosso “on 9 September 2016” is a typographical error, and should
            read “on 9 August 2016”, subparagraph a. is admitted.
      76.3. Subparagraph b. is admitted.

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   76.4. As to subparagraph c.:
         (a)   On 22 August 2016, Ms Gray informed Mr Garcia that because
               there was only one ‘seeder’ which held the relevant files she
               was encountering difficulty in downloading that file, but that she
               would attempt various means to overcome this issue.
         (b)   On 23 August 2016, Mr Garcia informed Mr del Rosso about
               this difficulty but stated that some of the data in the files would
               be provided to Mr del Rosso the following day.
         (c)   On 24 August 2016, Ms Gray informed Mr Garcia that she had
               successfully accessed and downloaded all of the files.
   76.5. Subparagraph d. is denied:
         (a)   It is common ground that NTi downloaded the hacked data in
               August and September 2016. This demonstrates that the
               hacked data was publicly accessible on the internet on those
               dates.
         (b)   Mr Azima’s advisers learned of the existence of the first Torrent
               in early August 2016 as a result of a “Google Alert” set up on
               Mr Azima’s name. This demonstrates that that Torrent was
               publicly accessible and easily discoverable via public internet
               search engines at that time.
         (c)   RAKIA’s IT expert in the US Proceedings did not attempt to
               download the hacked data until between 31 March and 10 April
               2017 (i.e. more than seven months after the hacked data first
               became available). The fact that RAKIA’s expert was able to
               download some, but not all, of the hacked data in a ten-day
               period in March/April 2017 does not cast any light on the public
               accessibility of the hacked data in August/September 2016. In
               support of this contention RAKIA will rely inter alia on the joint
               expert report dated 28 November 2019 of the parties’ forensic
               IT experts in these proceedings, Christopher Tarbell and
               Winston Krone, which confirms that the availability of data
               shared over a Torrent may change over time and that it is not
               possible to retrace peer-to-peer activity involving such
               Torrents.



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77.    As to paragraph 77:
       77.1. It is denied that RAKIA presented a false case as to how it obtained
              the hacked data or as to its knowledge of who created the Torrents.
       77.2. As pleaded at paragraph 74.1 above, in August and September 2016
              RAKIA obtained, (though NTi and Vital) copies of the hacked data
              which was publicly available on the internet via Torrents. RAKIA did
              not and does not know who created the Torrents.
       77.3. For these reasons, paragraph 77 is denied.


L. VITAL’S ALLEGED ENGAGEMENT OF ‘HACK FOR HIRE’ FIRMS
77A. As to paragraph 77A:
       77A.1 It is denied that CyberRoot or Cyber Defence and Analytics hacked
              Mr Azima’s data and devices on behalf of RAKIA as alleged at
              paragraph 77A.
       77A.2 Paragraph 77A is otherwise not admitted.


77B. Paragraph 77B is not admitted.


       1. CyberRoot
 78.   Paragraph 78 is admitted.


 79.   As to paragraph 79, the purpose of the payments made by Vital to CyberRoot
       is set out paragraph 20 above.


 80.   As to paragraph 80:
       80.1. It is not admitted that Gravitas made payments to CyberRoot between
              2015 and 2017.
       80.2. If and insofar as such payments were made, it is denied that they were
              made on behalf of RAKIA.


 81.   As to paragraph 81:
       81.1. It is not admitted that CyberRoot is a “hack for hire” firm. Paragraph 20
              above is repeated.
       81.2. It is denied that the CyberRoot hacked Mr Azima’s emails and devices
              on behalf of RAKIA as alleged.

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       81.3. As to the matters relied on:
             (i)      Subparagraph a. is not admitted.
             (ii)     Subparagraph b. is admitted.
             (iii)    The press report pleaded at subparagraph c. is admitted. No
                      admissions are made regarding the accuracy of the contents of
                      that press report.
             (iv)     Subparagraphs d. and e. are not admitted.
             (v)      As to subparagraph f., no admissions are made regarding the
                      contents or accuracy of any statements alleged to have been
                      made by Mr Pandey to Mr Rey. Paragraph 22 above is
                      repeated.
             (vi)     Subparagraph g. is not admitted.
             (vii)    Subparagraph h. is denied. Paragraph 79 above is repeated.
             (viii)   Subparagraph i. is not admitted. Paragraph 80 above is
                      repeated.


 2. Cyber Defence and Analytics
81A. Paragraph 81A is not admitted.


81B.   As to paragraph 81B:
       81B.1 It is denied that Cyber Defence and Analytics hacked Mr Azima’s data
             and devices on behalf of RAKIA as alleged.
       81B.2 As to the matters relied on:
             (a)      It is denied that Vital was instructed to carry out work for RAKIA
                      at any relevant time. It is further denied (if it is alleged) that Vital
                      provided instructions to Cyber Defence and Analytics for or on
                      behalf of RAKIA.
             (b)      Subparagraph a. is otherwise not admitted.
             (c)      Subparagraph b. is not admitted.
             (d)      Subparagraph c. is not admitted.
             (e)      Subparagraph d. is not admitted.
             (f)      Subparagraph e. is not admitted.
             (g)      Save that it is admitted that documents purporting to be bank
                      statements purportedly show that Vital made payments of
                      $17,480 and $4,000 to Cyber Defence and Analytics on 3 and

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                     27 June 2016 respectively, subparagraph f. is not admitted.


 81C. Save that it is admitted that Mr del Rosso and Mr Jain communicated via
       messages in 2020, the unparticularised allegations at paragraph 81C are not
       admitted.


M. THE DELETION OF MR BUCHANAN’S EMAILS
 82.   Paragraphs 82 to 87 of the Re-Amended Counterclaim contain various
       allegations concerning the deletion of emails from Mr Buchanan’s MSN email
       account in October 2016 (“the Email Deletion Issue”) and the truth of
       Mr Buchanan’s evidence at the First Trial regarding this. As to this:
       82.1. Mr Buchanan provided a total of four witness statements at the First
              Trial including one witness statement which contained a detailed
              account of the circumstances in which his emails were deleted by an
              employee at the Apple Store in Covent Garden, London and the
              extensive steps that Mr Buchanan subsequently took (with expert
              assistance from cyber specialists at Control Risks) to restore emails
              which had been deleted by the Apple Store employee.
       82.2. During the course of Mr Buchanan’s cross-examination (which lasted
              three days) Mr Buchanan was questioned and challenged extensively
              regarding the circumstances of the email deletion and the truthfulness
              of his evidence regarding this. On the basis of his assessment of all
              of the relevant documentary and oral evidence, the Judge:
              (a)    found that Mr Buchanan was “a generally reliable witness who
                     gave his evidence in a measured way and was prepared to
                     concede a number of points adverse to RAKIA's case that were
                     put to him in cross examination”; and
              (b)    in   relation   to   the    Email   Deletion   Issue,   “accept[ed]
                     Mr Buchanan's evidence on this point and conclude[d] that he
                     had not deliberately destroyed any emails”.
       82.3. The Judge’s findings that Mr Buchanan was a generally reliable
              witness and had not deliberately destroyed any emails are final and
              cannot be reopened or challenged in the context of the trial of the
              Counterclaim. The allegations concerning the Email Deletion Issue at
              paragraphs 81 to 86 of the Re-Amended Counterclaim are therefore

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            liable to be struck out on the basis that they are an impermissible
            attempt to reopen factual findings which the Court of Appeal has held
            are final and conclusive.
      82.4. Further and in any event, the allegations concerning the Email
            Deletion Issue at paragraphs 81 to 86 are evidential matters which go
            solely to Mr Buchanan’s credit. These paragraphs are therefore liable
            to be struck out on the basis that they are an impermissible attempt to
            plead evidence and/or matters going solely to credit. RAKIA pleads to
            these paragraphs without prejudice to this contention.


83.   As to paragraph 82:
      83.1. It is admitted Mr Buchanan was RAKIA’s primary disclosure custodian
            for the purposes of its disclosure given in relation to Mr Azima’s
            hacking allegations.
      83.2. In addition to Mr Buchanan, RAKIA provided disclosure in relation to
            Mr Azima’s hacking allegations from various other sources including
            from within RAK DEV and from third parties.
      83.3. It is denied that Mr Buchanan was RAKIA’s primary disclosure
            custodian in respect of other issues for which disclosure was given.


84.   Paragraphs 83 and 84 are admitted. RAKIA’s solicitors subsequently
      informed Mr Azima’s solicitors that the date on which Mr Buchanan’s emails
      had been deleted by the Apple store employee was 14 October 2016 and the
      reference to 12 October 2016 had been a typographical error.


85.   As to paragraph 85:
      85.1. It is admitted that of the 198 individual emails sent to Mr Azima by
            Mr Buchanan that were disclosed by Mr Azima, only one is available
            as an individual email on the images taken of Mr Buchanan’s account.
            However, a number of the 198 individual emails are found in the
            images of Mr Buchanan’s account as emails within email chains (for
            example where a reply was received by Mr Buchanan to emails sent
            by him).
      85.2. It is admitted that of the 106 individual emails sent to Mr Buchanan
            that were disclosed by Mr Azima, 83 are found as individual emails on

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            the images taken of Mr Buchanan’s account. Additional emails from
            the 106 individual emails sent by Mr Azima are found in the images of
            Mr Buchanan’s account as emails within email chains.
      85.3. With the exception of the above, paragraph 85 is denied.


86.   Paragraph 86 is admitted. In his fourth witness statement dated 12 November
      2019, Mr Buchanan provided a detailed account of the circumstances in
      which the emails were mistakenly deleted by an employee at the Apple Store
      in Covent Garden, London.


87.   As to paragraph 87:
      87.1. It is denied that Mr Buchanan’s account was false. As the Judge rightly
            held, Mr Buchanan’s account of the Email Deletion Issue is true and
            no emails were deliberately destroyed.
      87.2. As to the remainder of the paragraph:
            (a)    Subparagraph a. is denied. The emails were deleted from
                   Mr Buchanan’s MSN email account by an Apple Store
                   employee in the circumstances described in Mr Buchanan’s
                   fourth witness statement.
            (b)    As to subparagraph b.:
                   (i)    In relation to the first sentence, Mr Buchanan’s
                          understanding was that the Apple Store employee
                          deleted emails from the sent items and deleted items from
                          folders of his MSN email account and that the deletion of
                          emails from those folders would not have resulted in the
                          loss of emails from the inbox or sub-folders of that email
                          account. It is nevertheless possible that the Apple Store
                          employee may also have deleted emails from the inbox
                          and its subfolders. Enquiries undertaken on behalf of
                          RAKIA have been unable to ascertain whether this did in
                          fact occur.
                   (ii)   The second sentence of subparagraph b. is not admitted.
            (c)    As to subparagraph c., it is admitted that Mr Buchanan did not
                   inform RAKIA’s solicitors, Stewarts Law LLP (“Stewarts”) in
                   August 2017 about the incident at the Apple Store. Shortly after

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                 the Apple Store incident occurred, Mr Buchanan had informed
                 RAKIA’s     then     solicitors,     Dechert,   about    the   incident.
                 Mr Buchanan then sought, with the assistance of cyber
                 specialists at Control Risks, to ensure that relevant deleted
                 emails were recovered. In December 2016, an independent IT
                 company and disclosure provider, Millnet, was engaged to
                 produce a forensic image of Mr Buchanan’s MSN email
                 account. Having informed RAKIA’s solicitors about the Apple
                 Store incident at the time of the incident, and believing that all
                 relevant emails had been recovered with the assistance of
                 Control Risks and then captured by the forensic image of his
                 MSN Email Account produced by Millnet in December 2016, it
                 did not occur to Mr Buchanan that there was any need in
                 August 2017 to remind RAKIA’s new solicitors about the Apple
                 Store incident that had taken place some 10 months earlier.
           (d)   Subparagraph          d.        is   denied.     RAKIA         disclosed
                 contemporaneous emails which referred to the deletion of
                 Mr Buchanan’s emails at the Apple Store:
                 (i)    In an email to Mr Buchanan sent on 24 October 2016, a
                        consultant at Control Risks, Joe Littledale, referred to
                        “your question regarding the recovery of the emails
                        deleted…by the Apple Store employees”.
                 (ii)   In a further email to Mr Buchanan sent on 27 October
                        2016, Mr Littledale explained that “we propose to
                        reinstate all the emails from the month of October
                        (thereby capturing any emails which may have been
                        deleted erroneously by the Apple Store employees)”.
           (d)   As to subparagraph e., it is admitted that during his cross-
                 examination     Mr     Buchanan        stated   that    he   had   been
                 accompanied to the Apple store by another person.
                 Mr Buchanan was not asked to identify that person during his
                 cross-examination.


N. MR GERRARD’S AND MR HUGHES’ EVIDENCE AS TO DEALINGS WITH
  MR AL SADEQ

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88.   Paragraphs 88 to 95 contain various allegations about the accuracy of the
      evidence given by Mr Gerrard at and shortly after the First Trial regarding
      interviews he conducted with RAKIA’s former general counsel, Karam
      Al Sadeq, and evidence given by Mr David Hughes in 2015 in RAKIA v
      Bestfort Development LLP (“the Bestfort Proceedings”) regarding
      interviews he had conducted with Mr Al Sadeq. These allegations go solely
      to the credit of Mr Gerrard and Mr Hughes and are irrelevant to the issues
      that arise for determination in the Counterclaim. In particular:
      88.1. In the Addendum to the Judgment dated 30 June 2020, the Judge
             expressly held that Mr Gerrard’s evidence at the First Trial regarding
             his interviews of Mr Al Sadeq and the corrective evidence regarding
             this issue in Mr Gerrard’s corrective witness statement were irrelevant
             to Mr Azima’s hacking allegations. The accuracy of Mr Gerrard’s
             evidence concerning his interviews of Mr Al Sadeq is therefore
             irrelevant to the issues that arise for determination in the
             Counterclaim.
      88.2. Mr Hughes was not a witness of fact in the present proceedings and
             he is not alleged to have had any involvement in the hacking of
             Mr Azima’s emails/devices. The Bestfort Proceedings took place in
             2015 and concerned applications for freezing orders and the
             appointment of receivers over a number of English-registered limited
             liability partnerships alleged to be connected with a Georgian national
             named Gela Mikadze. The accuracy of a single sentence in one of
             Mr Hughes’ witness statements in those proceedings is entirely
             irrelevant to the issues that arise for determination in the
             Counterclaim.
      88.3. In correspondence with RAKIA’s solicitors, Mr Azima’s solicitors have
             sought to justify the inclusion of the allegations in paragraphs 88 to 95
             of the Re-Amended Counterclaim on the basis that they provide
             evidential “corroboration” and “confirmation” that Mr Gerrard is not a
             credible witness and RAKIA is not a reliable party. It is impermissible
             to plead evidence in a statement of case in support of an assertion
             regarding the credibility of a witness or party.
      88.4. It follows that paragraphs 88 to 95 of the Re-Amended Counterclaim
             are liable to be struck out. RAKIA’s response to those paragraphs set

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             out below is without prejudice to RAKIA’s primary position that
             paragraphs 88 to 95 are an impermissible pleading and should not
             form part of the Re-Amended Counterclaim at all.


89.   Paragraph 88 is admitted. As to Mr Al-Sadeq:
      89.1. He was convicted in 2015 and 2017 of defrauding RAKIA and other
             RAK entities and is currently serving a sentence of imprisonment in
             respect of those offences; and
      89.2. He was found by the Judge in the present proceedings to have been
             a party to the unlawful conspiracy in which Mr Azima received illicit
             payments totalling $1,652,500 and a bribe of $500,000 was paid to
             Dr Massaad.


90.   Paragraphs 89 and 90 are admitted.


91.   It is admitted that Mr Gerrard gave evidence at the First Trial, summarised in
      paragraph 91. RAKIA will, if necessary, refer to the full transcript of
      Mr Gerrard’s evidence.


92.   It is admitted that following the handing down of the Judgment, Mr Gerrard
      provided a corrective witness statement, summarised in paragraph 92.
      RAKIA will, if necessary, refer to the full witness statement at trial.


93.   Paragraph 93 is admitted


94.   Paragraph 94 is not admitted.


95.   As to paragraph 95:
      95.1. The Bestfort Proceedings were not proceedings in which hacking was
             an issue. It was an application for freezing orders in support of foreign
             proceedings. RAKIA has been unable to identify the complaint of
             hacking referred to.
      95.2. It is admitted that Mr Hughes represented RAKIA in the Bestfort
             Proceedings.
      95.3. Subparagraphs a. and b. are admitted.

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       95.4. It is admitted that the evidence given by Mr Hughes was inaccurate.
              At the time he made the statement Mr Hughes understood that no
              interviews had taken place before October 2015.
       95.5. It is denied that Mr Hughes gave false evidence in order to serve
              RAKIA’s interests.
       95.6. With the exception of the above, paragraph 95 is denied.


O. MR PAGE’S THREAT TO “IMPLICATE” OTHERS
 96.   Paragraph 96 is admitted.


 97.   Save that RAKIA does not plead to the comment in the second sentence,
       paragraph 97 is admitted.


 98.   Paragraph 98 is denied insofar as it relates to the Ruler’s alleged involvement
       in wrongdoing and is otherwise not admitted.


P. FURTHER PUBLICATION ON WETRANSFER SITES
 99.   As to paragraph 99:
       99.1. It is admitted that a large volume of data originating from Mr Azima’s
              emails and/or computers was disseminated on WeTransfer sites.
       99.2. It is admitted that one dataset was made available on WeTransfer on
              3 June 2019. The continued availability of that dataset is not admitted.
       99.3. With the exception of the above, paragraph 99 is not admitted.


 100. As to paragraph 100:
       100.1. No admissions are made regarding the truth of any statements or
               admissions allegedly made by Mr Pandey to Mr Rey. Paragraph 22
               above is repeated.
       100.2. It is not admitted that CyberRoot made data belonging to Mr Azima
               available on WeTransfer sites, and it is denied that RAKIA had any
               knowledge of or instructed or ratified any such action by any party.
       100.3. With the exception of the above, paragraph 100 is not admitted.


IV. THE HACKING OF MR AZIMA AND THE COVER UP OF THE FACTS
  RELATING TO IT

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101. RAKIA does not plead to paragraph 101 as it does not contain any averment
     of fact.


102. Save that it is admitted that an unknown person or persons obtained
     Mr Azima’s emails, paragraph 102 is not admitted.


103. As to paragraph 103:
     103.1. RAKIA does not know who was instructed to hack and disseminate
                Mr Azima’s data or to procure others to do so.
     103.2. If and insofar as it is alleged that individuals authorised to act on
                behalf of RAKIA gave such instructions or procured others to do so
                on behalf of RAKIA, or that RAKIA subsequently ratified such
                instructions or procuring, this allegation is denied.
     103.3. Mr Page was not instructed or authorised by RAKIA to engage
                hackers to attack Mr Azima.
     103.4. Mr del Rosso and/or Vital were not instructed or authorised by
                RAKIA to engage CyberRoot or Cyber Defence and Analytics (or
                anyone else) to carry out hacking of Mr Azima or Dr Massaad or to
                disseminate Mr Azima’s data.
     103.5. With the exception of the above, paragraph 103 is not admitted.


104. As to paragraph 104:
     104.1. It is denied that Mr Page, Mr del Rosso or Vital were, at any time,
                agents of RAKIA and, as a result, it is denied that their knowledge
                and conduct is attributable to RAKIA.
     104.2. If and insofar as it is so alleged, it is denied that RAKIA instigated,
                authorised or ratified the alleged or any unlawful acts by Mr Page,
                Mr del Rosso or Vital.
     104.3. For these reasons, paragraph 104 is denied.


105. It is denied that Mr Buchanan paid CyberRoot for any services on behalf of
     RAKIA. RAKIA and Mr Buchanan were not party to any conspiracy (nor did
     they commit any unlawful acts) against Mr Azima. For these reasons,
     paragraph 105 is denied.



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106. Paragraph 106 is denied:
     106.1. RAKIA did not procure the hacking of Mr Azima’s emails or
             computers or the release of the Torrents.
     106.2. RAKIA did not cover up any of the facts regarding the hacking nor
             did it advance a fraudulent case concerning the circumstances in
             which it had learned of and acquired the hacked data.
     106.3. RAKIA is not liable (whether “primarily” or vicariously) for any of the
             wrongs allegedly committed by Mr Gerrard, Mr Page, Mr del Rosso
             and Mr Grayson. Paragraph 35 above is repeated.


107. As to paragraph 107:
     107.1. It is assumed that the statement that “RAKIA did those things” in the
             first sentence is a reference to the allegations in paragraph 106 of
             the Re-Amended Counterclaim. Those allegations are denied.
             Paragraph 106 above is repeated.
     107.2. The remainder of paragraph 107 consists of the repetition of
             averments already made in the Re-Amended Counterclaim. RAKIA’s
             response to the specific matters addressed at subparagraphs is as
             follows.
     107.3. In relation to subparagraph a., paragraphs 28 to 29 above are
             repeated.
     107.4. In relation to subparagraph b., paragraphs 3, 25, 31 to 41 above are
             repeated.
     107.5. In relation to subparagraph c., paragraphs 42 to 48 above are
             repeated.
     107.6. In relation to subparagraph d., paragraph 36.3 above is repeated.
     107.7. In relation to subparagraph e., paragraphs 46 to 48 above are
             repeated.
     107.8. In relation to subparagraph f., paragraphs 49 to 52 above are
             repeated.
     107.9. In relation to subparagraph g., paragraph 53 to 56 above are
             repeated.
     107.10. In relation to subparagraph h., paragraph 57 above is repeated.
     107.11. In relation to subparagraph i., paragraphs 58 to 61 above are
             repeated.

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   107.12. In relation to subparagraph j., Mr Azima has no pleaded case as to
           “RAKIA’s wider objectives”. Insofar as this subparagraph is intended
           to rely on the matters pleaded at paragraphs 62 to 65 in relation to
           the Ruler’s “wider objectives”, paragraphs 62 to 65 above are
           repeated.
   107.13. In relation to subparagraph k., paragraph 66 to 67 above are
           repeated.
   107.14. In relation to subparagraph l., it is admitted that the first tranche of
           the hacked data appeared online shortly after the settlement talks
           with Dr Massaad ended. RAKIA is not aware of any connection
           between these two events.
   107.15. In relation to subparagraph m., paragraphs 75 to 77 above are
           repeated.
   107.16. In relation to subparagraph n., paragraphs 68 to 71.1 above are
           repeated.
   107.17. In relation to subparagraph o., paragraphs 20, 77A, 81 and 81B
           above are repeated.
   107.18. In relation to subparagraph oa.:
            (i)   In relation to subparagraph i., paragraph 20 above is repeated.
            (ii) In relation to subparagraph ii., paragraphs 21 and 80 above are
                  repeated.
            (iii) In relation to subparagraphs iii. and iv., paragraphs 78 to 81
                  above are repeated.
   107.19. In relation to subparagraph ob., paragraphs 77A and 81B above are
           repeated.
   107.20. In relation to subparagraph s., paragraphs 82 to 87.1 above are
           repeated.
   107.21. In relation to subparagraph t., paragraphs 88 to 95 above are
           repeated.
   107.22. In relation to subparagraph u., paragraphs 96 to 98 above are
           repeated.
   107.23. In relation to subparagraph v., it is denied that RAKIA has sought to
           conceal or cover up the true facts.
   107.24. Subparagraph w. is admitted.



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108. Further, although RAKIA does not know who was responsible for obtaining
     unauthorised access to Mr Azima’s emails and/or devices, it is apparent that
     Mr Azima was the target of long-term covert information gathering – including
     attempts to hack his electronic communications devices – by agents of the
     Government of Iran and/or Revolutionary Guards. The Government of Iran
     and/or the Revolutionary Guards had the means, motive and opportunity to
     hack and disseminate Mr Azima’s electronic data. In support of this averment
     RAKIA will rely on the following matters:
     108.1. An email sent by Ms Azadeh to Mr Azima on 4 September 2012
             described how Mr Azima’s electronic communications were being
             monitored and interfered with by agents of Iran. The email was sent
             after Ms Azadeh was arrested and detained for more than three
             months by the Iranian Government and Revolutionary Guards. In the
             email Ms Azadeh told Mr Azima that she had been “accused of
             espionage for us [United States] by you”. She went on to warn
             Mr Azima that, “your clowns and mine they are heavily infected and
             involved in this matter – both groups are with them” and that, “your
             maid has been paid too, they [have] pictures of your meeting in your
             apt and their voices”. She also warned Mr Azima that certain
             individuals “are playing both ways” and “will feed you with the wrong
             info” and that, “u don’t know your people”. She added that, “they
             have recorded our voice over the phone in Dubai – your phone in
             dubai is infected”.
     108.2. On 24 February 2016, Ms Azadeh sent Mr Azima an email which
             explained that within minutes of her arrest in Iran the intelligence
             service of the Revolutionary Guard had forced her to provide the
             password to her email accounts, and that she was then interrogated
             about HeavyLift’s operations by interrogators who wanted her to
             confess that she was a CIA agent working with Mr Azima.
             Ms Azadeh stated that the Iranian interrogators had obtained access
             to her computer and emails and that she was eventually released
             after being “made to confess that I was a CIA agent and I was
             working with Farhad Azima in relation to all anti-Islamic government
             activities supported by U.S.”
     108.3. On 1 May 2016, a spear-phishing email was sent to Mr Azima from

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             an IP address in Iran, indicating that Mr Azima was being actively
             targeted by a person or persons within Iran.
      108.4. On 18 July 2016, Ms Azadeh filed a lawsuit against the Islamic
             Republic of Iran and the Islamic Revolutionary Guards Corp before
             the United States District Court for the District of Columbia. The
             lawsuit described how Ms Azadeh was detained in Evin Prison,
             Tehran where she was tortured and interrogated about Mr Azima’s
             company, HeavyLift. Two weeks after that lawsuit was filed, the first
             tranche of the hacked data was published online.
      108.5. On 7 March 2018, Jay Solomon, a journalist whose communications
             with Mr Azima were contained in the second tranche of the hacked
             data (entitled “Fraud Between Farhad Azima and Jay Solomon”),
             published an article in the Columbia Journalism Review in which he
             stated his belief that the Government of Iran had been responsible
             for the hacking of Mr Azima’s emails and explained that he did not
             consider it to be a coincidence that “the stolen data began appearing
             just weeks after my first story broke in August 2016 about the Obama
             administration’s secret cash shipments to Iran”.


109. As to paragraph 108:
    109.1. It is admitted that Mr Page was involved in the investigation into
            Dr Massaad and his associates and made the proposal set out in
            subparagraph a.. Paragraphs 42 to 47 above are repeated.
    109.2. Subparagraph b. is admitted. Paragraph 36.3 above is repeated.
    109.3. Subparagraph c. is not admitted.
    109.4. Subparagraph d. is admitted. Paragraph 37 above is repeated.
    109.5. Subparagraph e. is admitted. Paragraphs 96 to 98 above are
            repeated.
    109.6. Subparagraph f. is admitted. Paragraph 36.4 above is repeated.
    109.7. The Re-Amended Counterclaim has abandoned, without explanation,
            the contention previously advanced at subparagraph g of the
            Amended Counterclaim.
    109.8. It is denied that Mr Page was party to any hacking, staged release of
            data or cover up authorised, instigated or procured by RAKIA.



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110. As to paragraph 109:
    110.1. Save that it is admitted that Mr Buchanan was a leading figure in
            RAKIA’s investigations, subparagraph a. is denied. Paragraphs 28 to
            30 above are repeated.
    110.2. As to subparagraph b., paragraph 34 above is repeated.
    110.3. Subparagraph c. is denied. Paragraphs 49 to 52 above are repeated.
    110.4. Subparagraph d. is admitted. Paragraphs 62 to 65 above are
            repeated.
    110.5. It is admitted that Mr Buchanan attended a meeting with Mr Azima at
            which Mr Gerrard was present which took place on 16 July 2016.
            Subparagraph e. is otherwise denied. In relation to this meeting,
            paragraphs 66 to 67 above are repeated.
    110.6. Subparagraph f. is not admitted. Paragraphs 21, 80 and 81 above are
            repeated.
    110.7. Subparagraph g. is denied.
    110.8. Subparagraph h. is denied.
    110.9. Subparagraph i. is denied. Paragraph 71 above is repeated.
    110.10. Save that it is admitted that a number of Mr Buchanan’s emails were
            deleted, subparagraph j. is denied. Paragraphs 82 to 87 above are
            repeated.
    110.11. It is denied that Mr Buchanan was party to any hacking, staged
            release of data or cover up.


111. As to paragraphs 110 and 111:
    111.1. Save that it is admitted that Mr Gerrard was closely involved in the
            investigations into the misappropriation of assets owned by RAKIA
            and the development of its strategies, paragraph 110a. is denied.
            Paragraphs 28 to 30 above are repeated.
    111.2. It is denied that Mr Gerrard gave instructions to Mr Page on behalf of
            RAKIA. RAKIA does not believe that Mr Gerrard was privy to any
            wrongful activities by Mr Page or that he was party to false evidence
            at the First Trial.
    111.3. It is not admitted that Mr Gerrard gave any instructions to
            Mr del Rosso and Vital to engage CyberRoot to hack Mr Azima’s
            computers or emails.

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    111.4. Paragraph 100d. is denied. Paragraphs 68 to 71 above are repeated.
    111.5. It is not admitted that Mr Gerrard was party to a false version of
            discovery of the Torrents in the First Trial.
    111.6. Paragraph 100f. is admitted. Paragraphs 58 to 61 above are repeated.
    111.7. Paragraph 100g. is denied. Paragraph 66 above is repeated.
    111.8. Paragraph 100h. is admitted. Paragraphs 96 to 98 above are
            repeated.
    111.9. Save that it is admitted that Mr Gerrard’s evidence at the First Trial
            was inaccurate in the respects identified in his third witness statement,
            paragraph 100i. is not admitted. Paragraphs 88 to 95 above are
            repeated.
    111.10. It is denied that Mr Gerrard was party to any hacking, staged release
            of data or cover up authorised, instigated or procured by RAKIA.
    111.11. With the exception of the above, paragraph 110 is not admitted.
    111.12. No admissions are made as to the legal effect or consequences of the
            relationship between Mr Gerrard and Dechert.


V. PROPER LAW
112. Paragraph 112 is admitted. The law applicable to Mr Azima’s claims against
     RAKIA is English law.


113. As to paragraph 113:
     113.1. It is denied that the proper law applicable to Mr Azima’s claim against
            the Additional Defendants is the federal law of the United States of
            America or the state law of the State of Missouri. The law applicable
            to Mr Azima’s claims against the Additional Defendants is English law.
     113.2. Subparagraph a. and b. are admitted as an accurate description of the
            status of the Rome II Regulation (“Rome II”) and the text of Article 4
            of that Regulation.
     113.3. Pursuant to the exclusionary provision in Article 1(2)(g) of Rome II,
            insofar as Mr Azima’s claims against the Additional Defendants for
            which RAKIA is allegedly liable arise from alleged violations of
            Mr Azima’s privacy and rights relating to personality, the law
            applicable to those is not determined by Rome II. Instead, the law
            applicable to those claims is governed by sections 11 and 12 of the

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         Private International Law (Miscellaneous Provisions) Act 1995
         (“PILA 1995”). With the exception of the above, subparagraph c. is
         admitted.
  113.4. Subparagraph d. is not admitted. Mr Azima is required to prove the
         existence and location of any damage allegedly caused by the
         publication of the hacked data, the location of his permanent
         residence, and the place where he conducted business.
  113.5. Further and in any event, even if Missouri was the state where the
         “damage” occurred for the purposes of Article 4(1) of Rome II, in all
         the circumstances it is clear that the alleged torts are manifestly more
         closely connected with England than with the State of Missouri or the
         United States. Accordingly, pursuant to Article 4(3) of the Rome II, the
         law applicable to the claims is English law.
  113.6. As to subparagraph e.:
         (a)    In relation to the aspects of Mr Azima’s claims against the
                Additional Defendants for which RAKIA is allegedly liable which
                are governed by PILA 1995, it is admitted that under the
                “general rule” in s. 11 of PILA 1995, the law applicable to those
                claims is the law in which the most significant element or
                elements of the events constituting the tort occurred. It is
                denied that the most significant element(s) of the events
                constituting the tort occurred in the State of Missouri. The
                matters pleaded at subparagraphs i.-iv. are not admitted.
         (b)    Further and in any event, even if the law of Missouri and/or US
                federal law were prima facie the applicable law under the
                general rule in s. 11 of PILA 1995, pursuant to s. 12 of PILA in
                the circumstances of the present case it is substantially more
                appropriate for the law applicable to those claims to be English
                law.
  113.7. In support of the contentions at paragraphs 113.5 and 113.6 above,
         RAKIA will rely on the following matters:
         (a)    The Additional Defendants are (and were at the time of the
                relevant alleged events) all domiciled in England. It is not
                alleged that any of the Additional Defendants committed any
                tortious acts or omissions in the United States.

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         (b)   Although Mr Azima has put forward several different cases
               regarding how and by whom the hacking was allegedly carried
               out, he has never suggested that any of the persons who
               conducted the hacking were present in the United States when
               they did so. On the contrary, Mr Azima has always alleged that
               the persons who carried out the hacking were based outside
               the United States:
               (i)     At the trial, Mr Azima alleged that the hacking was
                       carried out by Israeli operatives in Israel and that the
                       person who created the “Farhad Azima Exposed Again”
                       blog was based in the United Arab Emirates.
               (ii)    In the Re-Amended Counterclaim Mr Azima alleges that
                       the hacking was carried out by Indian hackers in India.
               (iii)   At paragraphs 15b. and 57b. of the Re-Amended
                       Counterclaim, Mr Azima also alleges that in 2015 and
                       2016 his email accounts were accessed without
                       authorisation from India and Bulgaria.
         (c)   Further, according to the expert report of Mr Azima’s forensic
               IT expert, Christopher Tarbell, dated 30 August 2019:
               (i)     The “authorized connection record” for Mr Azima’s
                       fa@farhadazima.com email account showed that in the
                       year before 18 November 2016 that email account had
                       been accessed from 11 different countries including the
                       United Kingdom, India, Bulgaria, France, Italy, Austria,
                       Canada, Monaco, Lebanon and Jamaica.
               (ii)    Data which had been hacked from Mr Azima’s emails
                       and computers was available from “seeders” with IP
                       addresses in Germany and France.
         (d)   Mr Azima’s Response dated 15 October 2021 to RAKIA’s
               Request for Further Information dated 2 September 2021
               (“Mr Azima’s RFI Response”) states that:
               (i)     Of the 12 companies which Mr Azima claims his
                       “business was conducted” through at “the relevant time”,
                       nine were incorporated outside Missouri. These include
                       companies incorporated in Gibraltar (AAA Investments

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                      Ltd), the Cayman Islands (ALG Marine Limited and ALG
                      Marine MYQ Limited) and the British Virgin Islands
                      (Eurasia Aviation Holdings Limited).
               (ii)   The customers of those 12 companies were “located
                      worldwide”.
         (e)   It is common ground that the claims against RAKIA are
               governed by English law pursuant to an English law and
               exclusive jurisdiction clause in the Settlement Agreement. The
               claims against the Additional Defendants are based on the
               same factual allegations as the claims against RAKIA. Further,
               the torts allegedly committed by the Additional Defendants
               were allegedly committed by them in their capacity as agents
               of RAKIA.
         (f)   Mr Azima contends that RAKIA is both primarily and/or
               vicariously liable for the acts of Mr Gerrard, Mr Page and
               Mr Buchanan. In circumstances where it is common ground
               that all Mr Azima’s claims against RAKIA are all governed by
               English law, it would be inconsistent for the claims against
               Mr Gerrard, Mr Page and Mr Buchanan – in respect of whom
               RAKIA is alleged to be both primarily and vicariously liable – to
               be governed by a different system of law. In particular:
               (i)    Where a principal is alleged to be vicariously liable under
                      English law for torts committed by its agent, the question
                      of whether the acts of the agent were tortious (which is
                      a necessary precondition to establishing vicarious
                      liability on the part of the principal) must logically be
                      determined by reference to English law.
               (ii)   Since it is common ground that the claims against
                      RAKIA are exclusively governed by English law, it
                      follows that any liability on RAKIA’s part in respect of the
                      acts of its agents/alleged agents could only arise under
                      English law. It follows from this that the relevant acts of
                      those agents/alleged agents must also be governed by
                      English law. It would be incoherent and illogical for
                      claims in tort against RAKIA’s agents/alleged agents to

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                              be governed by US federal law and/or Missouri state
                              law, but claims asserting RAKIA’s vicarious liability for
                              those same alleged torts to be governed by English law.


114. As to paragraph 114:
       114.1. For the reasons set out above, it is denied that the alleged torts are
               most closely connected with the United States or the State of Missouri
               and/or that, in respect of claims concerning invasions of privacy, the
               significance of the factors connecting those claims to the United
               States and to Missouri are more significant than the factors that
               connect those claims with other jurisdictions.
       114.2. Subparagraphs a.-d. are a verbatim repetition of paragraph 112.e.i.-
               iv. of the Re-Amended Counterclaim. The response to those
               averments pleaded at paragraph 113.5 to 113.7 above is repeated.


115.   As to paragraph 115:
       115.1. It is admitted that as a consequence of the choice of law provision in
               the Settlement Agreement and the fact that the Additional Defendants
               were allegedly acting as RAKIA’s agents, the law applicable to the
               claims against all of the Defendants is English law.
       115.2. With the exception of the above, paragraph 115 is denied.


116.   RAKIA does not plead to paragraph 116 which does not contain any relevant
       averment.


VI. MR AZIMA’S CLAIMS
A. CLAIMS UNDER ENGLISH LAW
1. CLAIMS FOR UNAUTHORISED ACCESS, HACKING, AND THEFT OF DATA
117. Paragraph 117 is admitted.


118. As to paragraph 118:
       118.1. It is admitted that section 5 of the Data Protection Act 1998 (“DPA”),
               established territorial limitations on its application. Pursuant to
               section 5, the DPA only applied to the processing of personal data
               where the data controller was “established in the United Kingdom and

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          the data are processed in the context of that establishment” or where
          the data controller was established outside the United Kingdom and
          the European Economic Area “but use[d] equipment in the United
          Kingdom for processing the data otherwise than for the purpose of
          transit through the United Kingdom”. RAKIA is established in the
          Emirate of Ras Al Khaimah in the United Arab Emirates. It has never
          had any presence in the United Kingdom and never used any
          equipment in the United Kingdom for the purpose of processing data.
          Accordingly, any processing of personal data allegedly carried out by
          RAKIA fell outside the scope of section 5 and therefore was not
          subject to the provisions and requirements of the DPA.
  118.2. It is denied that the territorial limitations of the DPA are inapplicable:
          (a)    Section 5 of the DPA contained express territorial limitations on
                 the scope of application of the DPA. RAKIA’s entry into a
                 Settlement Agreement with Mr Azima which contained an
                 English choice of law clause was neither intended to, nor
                 capable of, disapplying or ‘waiving’ those express territorial
                 limitations or estopping RAKIA from relying on them.
                 Accordingly, RAKIA was at no time subject to any of the
                 provisions or requirements contained in the DPA.
          (b)    Without prejudice to the generality of that denial:
                 (i)    The Settlement Agreement was entered on 2 March
                        2016. Mr Azima alleges that his emails and computers
                        were first hacked on RAKIA’s instructions sometime in
                        2015 and that by the date of the Settlement Agreement
                        RAKIA had acquired unauthorised access to his data
                        and was using those data for the purposes of a
                        conspiracy against him. It is not alleged that RAKIA was
                        bound to comply with provisions of an English statute
                        before it entered the agreement which he alleges
                        rendered English law applicable to RAKIA.
                 (ii)   Further, the choice of law clause in the Settlement
                        Agreement provides that English law applies to “any
                        dispute or claim arising out of, or in connection with, it or
                        its subject matter”. Accordingly, under the Settlement

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                            Agreement the trigger for the application of English law
                            to RAKIA is the existence of a “dispute or claim” arising
                            out of, or in connection with the Settlement Agreement
                            or its subject matter. There was no such “dispute or
                            claim” in existence until RAKIA issued its claim against
                            Mr Azima on 30 September 2016. It is not alleged that
                            by issuing that claim against Mr Azima, the provisions of
                            the DPA became retrospectively applicable to acts
                            which were not subject to the DPA at the time when they
                            were allegedly carried out.


119. As to paragraph 119:
     119.1. In respect of the first sentence:
             (a)    It is denied that RAKIA gained unauthorised access to
                    Mr Azima’s computers and emails, hacked or stole his data, or
                    disclosed his data on websites.
             (b)    If and insofar as it is so alleged, it is denied that RAKIA’s use
                    of the hacked data to investigate Mr Azima’s frauds and to
                    pursue legal redress for those frauds involved any breach of
                    the DPA actionable by Mr Azima.
     119.2. Subparagraphs a. to e. are denied. Without prejudice to the generality
             of that denial:
             (a)    RAKIA was not responsible for hacking and making available
                    the hacked data on the internet.
             (b)    Further and in any event, RAKIA was not a “data controller” for
                    the purposes of the DPA. Accordingly:
                    (i)     The requirement under section 4(4) of the DPA for a
                            “data controller” to comply with the data protection
                            principles did not apply to RAKIA at any time.
                    (ii)    The right under section 13 to claim compensation in
                            respect of damage caused “by reason of any
                            contravention by a data controller of any of the
                            requirements of this Act” is therefore incapable as a
                            matter of law of being applied against RAKIA.
             (c)    Further and in any event, even if RAKIA had been a “data

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                     controller” within the meaning of the DPA, RAKIA’s discovery
                     of Mr Azima’s personal data on the internet and its subsequent
                     use of that personal data to investigate his fraudulent conduct
                     towards RAKIA and to pursue proceedings for redress in
                     respect of that wrongdoing would not have involved any breach
                     of the data protection principles referred to in subparagraph c.
                     In particular:
                     (i)     Such processing of personal data would have been
                             exempt from the first data protection principle on the
                             basis that the data was being processed for the purpose
                             of preventing or detecting crime within the meaning of
                             section 29(1) of the DPA;
                     (ii)    Such processing would have been justified on the basis
                             that it was necessary for the purposes of legitimate
                             interests pursued by RAKIA within the meaning of
                             paragraph 6(1) of Schedule 2 to the DPA;
                     (iii)   RAKIA’s acquisition and use of the personal data was
                             for the purposes of investigating Mr Azima’s frauds and
                             wrongdoing and pursuing legal redress (successfully) in
                             respect of this. These purposes were specified and
                             lawful within the meaning of paragraph 2 of Schedule 1
                             to the DPA.


120. As to paragraph 120:
      120.1. It is admitted that the Computer Misuse Act 1990 (“CMA”) contains
              territorial limitations on its application.
      120.2. RAKIA’s entry into a contract with Mr Azima which contained an
              English choice of law clause was neither intended to, nor capable of,
              disapplying or ‘waiving’ those express territorial limitations or
              estopping RAKIA from relying on them. Paragraph 118.2(b) above is
              repeated, making the necessary changes.
      120.3. As a result, it is denied that the CMA has any application to the alleged
              hacking in this case.


121. Paragraph 121 is denied. In particular:

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       121.1. The hacking of Mr Azima’s computers and emails/data did not fall
               within the offence established under section 1 of the CMA because it
               occurred beyond the jurisdictional reach of that section.
       121.2. Further and in any event, the CMA is a criminal statute and does not
               create any cause of action for breach of statutory duty.
       121.3. Accordingly, even if (which is denied) the hacking of Mr Azima’s
               computers and emails/data constituted an offence under section 1 of
               the CMA, Mr Azima has no cause of action under the CMA.


 2. BREACH OF CONFIDENCE AND/OR MISUSE OF PRIVATE INFORMATION
122.   As to paragraph 122:
       122.1. No admissions are made as to the nature of the information obtained
               through hacking and Mr Azima is put to proof as to the information or
               categories of information to which his claim relates.
       122.2. In relation to each category of information to which his claim relates
               Mr Azima is put to proof that:
              (a)    He had a reasonable expectation of privacy in respect of such
                     information; and/or
              (b)    That the information had the necessary quality of confidence.
       122.3. It is specifically denied that any of the information contained in the
               Iniquity Documents, the RAKIA Communications and the Generic
               Messages was private or confidential to Mr Azima. Paragraph 6.3
               above is repeated.


 123. As to paragraph 123:
       123.1. It is denied that RAKIA was responsible for the hacking or that it
               “infringed” Mr Azima’s reasonable expectation of privacy.
       123.2. With the exception of the above, paragraph 123 is not admitted.


 124. As to paragraph 124:
       124.1. It is denied that RAKIA was under any obligation of confidence in
               respect of the hacked data which it obtained from the internet where
               they had been made publicly available by an unknown third party or
               parties sometime before RAKIA first learned of their existence in
               August and September 2016. The hacked data were therefore all in

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             the public domain at the time when RAKIA acquired them.
     124.2. Accordingly, even if (which is not admitted) some of the hacked data
             had been confidential and/or private to Mr Azima prior to their
             publication online, from the moment of their publication on the internet
             those data ceased to be confidential or private.
     124.3. No admissions are made as to the position of the other Additional
             Defendants.


125. As to paragraph 125:
     125.1. It is denied that RAKIA published the hacked data on internet sources.
     125.2. It is admitted that RAKIA used the hacked data for the purposes of
             investigating Mr Azima’s wrongdoing and brought these proceedings
             for fraudulent misrepresentation and unlawful means conspiracy
             against Mr Azima on the basis of those data. RAKIA’s actions were
             justified in the public interest and overrode any expectation of privacy
             or confidence in the hacked data.
     125.3. In support of this, RAKIA will rely on the Court of Appeal’s express
             endorsement (at paragraphs 62 to 65 of its judgment) of paragraph
             42.3 of RAKIA’s Re-Re-Amended Reply, which stated: “Even if …
             RAKIA had been responsible for obtaining documents unlawfully from
             Mr Azima, the public interest in the court reaching the correct decision
             on the basis of all the evidence available would substantially outweigh
             any such unlawfulness. Accordingly, RAKIA's claim based on those
             documents would not constitute an abuse of process, nor would there
             be any basis for excluding any of those documents from the
             proceedings.”
     125.4. Further, the use of the hacked data in proceedings before this Court
             is protected by absolute immunity and did not constitute any breach
             of Mr Azima’s rights.
     125.5. With the exception of the above, paragraph 125 is not admitted.


126. Paragraph 126 is not admitted.


127. As to paragraph 127:
     127.1. It is denied that RAKIA acquired information through hacking or that it

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             misused any of Mr Azima’s private or confidential information.
     127.2. For these reasons, paragraph 127 is denied.


128. As to paragraph 128:
     128.1. For the reasons set out above, it is denied that Mr Azima is entitled to
             any compensation or damages for breach of confidence or misuse of
             private information against RAKIA.
     128.2. Further and in any event, Mr Azima is not entitled compensation or
             damages resulting from the publication, distribution or use of the
             Iniquity Documents, the RAKIA Communications or the Generic
             Messages or the use of the hacked data in the course of legal
             proceedings.
     128.3. No admissions are made in respect of Mr Azima’s claims for
             compensation and damages for breach of confidence and misuse of
             private information against the Additional Defendants.
     128.4. It is denied that Mr Azima is entitled to any order for disgorgement.
             This is addressed further at paragraphs 176 and 177 below.
     128.5. With the exception of the above, paragraph 128 is denied.


3. CONSPIRACY TO INJURE
129. As to paragraph 129:
     129.1. It is denied that RAKIA entered into any combination or agreed course
             of conduct with the predominant (or any) intention of harming
             Mr Azima.
     129.2. RAKIA repeats the response above to Sections II and III of the Re-
             Amended Counterclaim.
     129.3. RAKIA had no involvement in the hacking or dissemination of the
             hacked data or the creation of websites or materials seeking to
             publicise the hacked data or to attack Mr Azima. Accordingly, the
             intention(s) of the person(s) responsible for this are unknown to
             RAKIA. Subparagraph a. is therefore not admitted.
     129.4. The Ruler’s expression of his wish to “target” and “go after” Mr Azima
             was not an instruction to hack Mr Azima or to engage in any other
             unlawful activity against him. Paragraphs 49 to 52 above are
             repeated.

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     129.5. The reference in the Project Update document to “contain[ing] and
              ruin[ing]” the plans of Mr Azima and the “US team” was likewise not
              understood by RAKIA as a reference to hacking Mr Azima or engaging
              in any other unlawful activity.
     129.6. Mr Gerrard did not say or threaten that Mr Azima would be rendered
              “collateral damage”. Paragraphs 66 to 67 above, which explain the
              context and meaning of Mr Gerrard’s reference to “collateral damage”
              at the 16 July Meeting, are repeated.
     129.7. Save as set out at above, paragraph 129 is not admitted.


130. As to paragraph 130:
     130.1. It is denied that RAKIA instructed or otherwise procured Mr Page,
              Vital, Mr del Rosso and/or CyberRoot or any other person or persons
              to take steps to obtain Mr Azima’s private and confidential information,
              to ensure it became accessible on the internet and/or to procure the
              promotion of websites which drew attention to the exposure of such
              information.
     130.2. The reference in the Project Update document to “gather[ing]
              intelligence” was not understood by RAKIA to be a reference to
              hacking or any other unlawful activity.
     130.3. The Ruler’s expression of his wish for Mr Azima to be “target[ed]” was
              not an instruction to engage in hacking or any other unlawful activity.
              Paragraphs 49 to 52 above are repeated. Accordingly, the expression
              of that wish did not result in any person making, sending or receiving
              any communications in furtherance of a conspiracy to hack or engage
              in unlawful activity against Mr Azima.
     130.4. It is denied that RAKIA has sought to conceal or cover up any unlawful
              behaviour.
     130.5. Paragraph 130 is, accordingly, denied.


131. Paragraph 131 is denied.


132. Paragraph 132 is denied.


133. It is denied that RAKIA is liable to Mr Azima for the tort of conspiracy to injury

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     as alleged in paragraph 133.


4. UNLAWFUL MEANS CONSPIRACY
134. As to paragraph 134:
     134.1. It is denied that RAKIA was party to any conspiracy against Mr Azima.
     134.2. As to subparagraph a.:
            (a)   It is admitted that computer hacking is unlawful under the
                  criminal law in England and Wales, the United States
                  and Missouri.
            (b)   The presumption of equivalence between English and foreign
                  law is a rule of English private international law which only
                  applies to the content of foreign civil laws. There is no
                  presumption that foreign criminal laws are the same as English
                  criminal laws. Accordingly, no admissions are made regarding
                  the criminal laws of any countries other than England and the
                  United States.
            (c)   In relation to the laws of England, the United States and
                  Missouri, RAKIA’s position is as set out above (in relation to the
                  English law causes of action relied on by Mr Azima) and below
                  (in relation to the United States and Missouri causes of action
                  relied on by Mr Azima).
    134.3. As to subparagraph b., it is denied that RAKIA committed any breach
            of confidence, misuse of private information or breach of any
            provisions of US or Missouri law. It is not admitted that any of the
            Additional Defendants committed any such breach of confidence,
            misuse of private information or breach of US or Missouri law.
            Paragraphs 122 to 128 above and paragraphs 139 to 166 below are
            repeated.
    134.4. As to subparagraph c., it is denied that RAKIA has “procured” or
            “promoted” any unlawful websites relating to Mr Azima.
    134.5. As to subparagraph d., it is denied that RAKIA instigated, procured or
            ratified the giving of false evidence in relation to the hacking or
            otherwise sought to conceal or cover up the hacking.
    134.6. With the exception of the above, paragraph 134 is not admitted.



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135. Save that it is denied that RAKIA was party to any conspiracy, paragraph 135
        is not admitted.


136. Paragraph 136 is denied.


 137.    Paragraph 137 is denied.

B.     CLAIMS UNDER US FEDERAL AND MISSOURI LAW
138. Paragraph 138 is denied. The law applicable to the claims against all of the
        Defendants is English law. Neither US Federal law nor the law of the State
        of Missouri is applicable to any of the claims. Paragraph 112 above is
        repeated. The response below to paragraphs 139 to 165 of the Re-Amended
        Counterclaim is without prejudice to RAKIA’s primary contention that none of
        the provisions of US federal law and Missouri state law pleaded in those
        paragraphs is applicable to the claims against any of the Defendants.


1. Conspiracy to Disclose and Use Intercepted Wire, Oral, or Electronic
Communications under the Wiretap Act (18 U.S.C. §§ 2511(1)(d) and 2520,
18 U.S.C.    §371; and Disclosure and Use of Wire, Oral, or Electronic
Communications under the Wiretap Act (18 U.S.C. §§ 2511(1)(c) and 2520)
139. The claims under the Wiretap Act pleaded at paragraphs 139 to 146 of the
        Re-Amended Counterclaim are time barred:
        139.1. Under 18 U.S.C. §2520(e) the limitation period for claims under the
                Wiretap Act in respect of the interception, disclosure or intentional
                use of wire or electronic communications in violation of Chapter 119
                (Wire and Electronic Communications Interception) is two years from
                the date upon which the claimant first had a reasonable opportunity
                to discover the violation.
        139.2. Mr Azima was aware that his computers and emails had been
                hacked and that their contents had been made publicly available on
                the internet shortly after the first tranche of the hacked data was
                published online in early August 2016. On 30 September 2016,
                Mr Azima issued proceedings against RAKIA in the United States in
                which he alleged that RAKIA was responsible for that hacking and
                disclosure (“the US Proceedings”). Accordingly, it is clear that
                Mr Azima was aware, at the latest, by that date of the facts which he


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             now alleges constituted violations of the Wiretap Act.
      139.3. Mr Azima’s original Counterclaim dated 16 August 2019 (“the
             Original Counterclaim”) did not include any claim under the
             Wiretap Act. The claims under the Wiretap Act were first advanced
             in the Amended Counterclaim served on 23 July 2021. Accordingly,
             the claims under the Wiretap Act pleaded at paragraphs 139 to 146
             of the Re-Amended Counterclaim are all limitation barred.
      139.4. The response pleaded below to the claims under the Wiretap Act is
             without prejudice to this limitation defence.


140. As to paragraph 139:
      140.1. RAKIA did not agree or conspire with anyone to intercept Mr Azima’s
             data by hacking or to disclose such hacked data.
      140.2. Further and in any event:
             (a)   The provisions of the Wiretap Act set out at 18 U.S.C. §2511
                   and §2520 do not have extraterritorial effect and therefore do
                   not apply to conduct by a person outside the territory of the
                   United States. It is not alleged that any of the Defendants
                   engaged in any conduct violating the Wiretap Act in the United
                   States. Accordingly, even if one or more of the Defendants had
                   committed acts in violation of the Wiretap Act, this would not
                   fall within the scope of 18 U.S.C. §2511 and would not be
                   capable of giving rise to any cause of action under 18 U.S.C.
                   §2520.
             (b)   Civil liability under the Wiretap Act does not extend to cases
                   where a person aids or abets unlawful interceptions carried out
                   by other persons or conspires with other persons who carry out
                   the unlawful interceptions. Accordingly, even if one or more of
                   the Defendants had entered an agreement that CyberRoot or
                   others would hack Mr Azima’s data and disclose that data in
                   violation of the Wiretap Act, the Defendants would not be civilly
                   liable under the Wiretap Act in respect of this.
      140.3. With the exception of the above, paragraph 139 is not admitted.


141. As to paragraph 140:

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      141.1. 18 U.S.C. §2511(1)(c) provides that except as otherwise specifically
             provided in Chapter 119, any person who intentionally discloses, or
             endeavours to disclose, to any other person the contents of any wire,
             oral, or electronic communication, knowing or having reason to know
             that the information was obtained through the interception of a wire,
             oral, or electronic communication in violation of that subsection, shall
             be punished as provided in subsection (4) or shall be subject to suit
             as provided in subsection (5). The provisions of the Wiretap Act set
             out in 18 U.S.C. §2511 do not apply to disclosures or interceptions
             carried out by a person outside the territory of the United States.
      141.2. The definitions of “Intercept” and “Electronic communication” are
             admitted. An “interception” only occurs for the purposes of the
             Wiretap Act where a communication is acquired by the defendant
             while it is in transmission: see, e.g., Boudreau v. Lussier, 901 F. 3d
             65, 77 (1st Cir. 2018) and United States v. Steiger, 318 F.3d 1039
             (11th Cir. 2003). Accordingly, where a person accesses an
             electronic document or communication that is not in the course of
             being transmitted at the moment when the access occurs, this will
             not constitute an “interception” for the purposes of the Wiretap Act.


142. As to paragraph 141:
      142.1. It is denied that RAKIA intercepted Mr Azima’s data.
      142.2. Further and in any event:
             (a)   Electronic communications which were sent or received before
                   the hacking occurred cannot have been intercepted while they
                   were in transmission. Similarly, electronic data documents
                   such as photographs, videos, notes and call logs which are
                   merely   stored   on    a   device,   and   not   communicated
                   electronically to/from that device, are incapable of being
                   “intercepted” during their transmission for the purposes of the
                   Wiretap Act. The significant majority of the hacked data
                   comprise either documents which were sent or received before
                   the hacking allegedly began and documents and data which
                   were not sent or received at all. Accordingly, the acquisition of
                   those documents and data through hacking is incapable of

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                   constituting an “interception” within the meaning of the Wiretap
                   Act.
             (b)   Mr Azima has not identified any facts which support the
                   assertion that the persons who hacked his email accounts
                   acquired emails sent to or from those accounts during the
                   transmission of such emails.
             (c)   As set out at paragraph 140.2 above, the Wiretap Act does not
                   have extraterritorial application and therefore even if one or
                   more of the Defendants had intercepted Mr Azima’s emails, the
                   Wiretap Act is inapplicable.
      142.3. With the exception of the above, paragraph 141 is not admitted.


143. Save that it is denied that RAKIA disclosed Mr Azima’s data by publishing
      intercepted data on the Torrents or that it added new links to his data as
      alleged, paragraph 142 is not admitted.


144. As to paragraph 143:
      144.1. It is denied that RAKIA was party to any conspiracy to use hacked
             data to damage Mr Azima.
      144.2. RAKIA discovered the hacked data on the internet and subsequently
             used it for the purposes of investigating and successfully pursuing
             proceedings against Mr Azima for his serious frauds and other
             wrongdoing. This was a lawful and legitimate use of the hacked
             data, and RAKIA denies any liability arising from such use. Without
             prejudice to the generality of that denial, RAKIA’s use of the hacked
             data for this purpose was and is protected by the First Amendment
             to the Constitution of the United States.
      144.3. With the exception of the above, paragraph 143 is not admitted.


145. As to paragraphs 144 to 145:
      145.1. It is denied that RAKIA was party to the hacking or dissemination of
             Mr Azima’s data.
      145.2. It is not admitted that Mr Azima has suffered damage as alleged.
      145.3. Further and in any event, the Defendants’ alleged acquisition and
             dissemination of Mr Azima’s data would not constitute interception

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                within the meaning of the Wiretap Act and would not fall within the
                scope of the civil remedies established under the Wiretap Act.
                Paragraphs 141 and 142 above are repeated.
      145.4. With the exception of the above, paragraphs 144 and 145 are not
                admitted.


146. As to paragraph 146:
      146.1. It is not admitted that the hacked data continues to be available on
                WeTransfer.
      146.2. It is denied that RAKIA was responsible for (or in any way involved
                with) the creation of WeTransfer links which allegedly made that data
                available online.
      146.3. It is not admitted that Mr Azima has been caused any continuing
                damage as alleged.


2. Misappropriation of Trade Secrets, 18 U.S.C. §§ 1831, 1832, 1836
147. Mr Azima’s claims under the Defend Trade Secrets Act (“DTSA”) are time
      barred:
      147.1. Under 18 U.S.C. §1836(d) the limitation period for claims under the
                DTSA is three years from the date upon which the misappropriation
                which the action relates to is discovered or by the exercise of
                reasonable diligence should have been discovered. A continuing
                misappropriation constitutes a single claim of misappropriation.
      147.2. Mr Azima was aware that his computers and emails had been
                hacked and that their contents had been disseminated on the
                internet shortly after the first tranche of the hacked data was
                published online in early August 2016. On 30 September 2016,
                Mr Azima issued the US Proceedings against RAKIA in which he
                alleged that RAKIA was responsible for the hacking and
                dissemination and was aware of the alleged misappropriation, at the
                latest, by that date.
      147.3. Mr Azima’s Original Counterclaim served on 16 August 2019 did not
                include any claim under the DTSA. The claims under the DTSA were
                first advanced in the Amended Counterclaim served on 23 July
                2021, nearly five years after Mr Azima first accused RAKIA of being

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             responsible for the hacking and dissemination. Accordingly, the
             claims under the DTSA pleaded at paragraphs 146 to 149 are time
             barred.
      147.4. The response pleaded below to the claims under the DTSA is without
             prejudice to this limitation defence.


148. Further and in any event, the DTSA did not come into force until
     11 May 2016. Federal courts in the United States have held that the DTSA
     has no application to alleged misappropriations which occurred before that
     date: TFOR LLC v Virtustream, Inc 2:16-cv-602 (E.D. Va. Jun. 22, 2017).
     Accordingly, insofar as Mr Azima’s claim is based on acts of hacking and/or
     dissemination which occurred prior to 11 May 2016, the DTSA has no
     possible application to that claim.


149. As to paragraph 147:
      149.1. The terms of 18 U.S.C. §§1832(a)(1) and 1836(b)(1) pleaded at
             paragraph 147 are admitted.
      149.2. It is denied that 18 U.S.C. §§1831 and 1832 create any cause of
             action. These provisions create a criminal offence, but do not
             establish any civil remedy or cause of action.
      149.3. Further and in any event, there is no liability under the DTSA in
             respect of a defendant that has conspired, but not directly
             participated in, the misappropriation of the trade secret: see Masoud
             v. Suliman, 816 F. Supp. 2d 77, 80 (D.D.C. 2011); Bennett v. Wolf,
             2019 WL 3802466, at 1 (W.D. Wis. Aug. 13, 2019); Lopez v. MUFG
             Union Bank, N.A., 2016 WL 9686990, at 6 (C.D. Cal. Mar. 30, 2016);
             Steves & Sons, Inc. v. JELD-WEN, Inc., 271 F. Supp. 3d 835, 842–
             43 (E.D. Va. 2017).


150. As to paragraph 148:
      150.1. It is not admitted that Mr Azima’s email accounts stored “trade
             secrets” including “highly confidential business plans and proposals,
             research supporting those plans and proposals (including costs and
             service projections), information concerning business strategies and
             opportunities, or contacts for important business relationship” as

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              alleged and Mr Azima is put to proof that the hacked data contain
              such information and that such information constituted “trade
              secrets” for the purposes of 18 U.S.C. §1836(b)(1) on the basis that
              the information had independent economic value from not being
              generally known to, and not being readily ascertainable through
              proper means by, another person, and that he took reasonable
              measures to keep such information secret.
      150.2. Without prejudice to the non-admission in paragraph 150.1 above,
              the alleged trade secrets identified in Table 2 to Mr Azima’s RFI
              Response all relate to businesses conducted through companies.
              Accordingly, the alleged misappropriation of those alleged trade
              secrets is incapable of giving rise to any cause of action actionable
              by Mr Azima. In particular:
              (a)   Under 18 U.S.C. §1836(b)(1) the right to bring a civil action for
                    misappropriation of a trade secret is limited to the “owner” of
                    the trade secret.    For these purposes, the “owner” is the
                    company to which the trade secret relates, not the shareholder
                    or director of the company.
              (b)   Further and in any event, the rule in Prudential Assurance
                    Company v Newman Industries Ltd (No. 2) [1982] Ch 204
                    precludes Mr Azima from bringing a claim in respect of a loss
                    allegedly suffered as a result of a wrong done to a company in
                    which he is a shareholder. Accordingly, Mr Azima is unable to
                    bring a claim in respect of losses which he has allegedly
                    suffered as a result of an alleged misappropriation of a trade
                    secret belonging to a business in which he is a shareholder.
      150.3. Further and in any event, it is denied (if it is so alleged) that the
              contents   of   any   of   the   Iniquity   Documents,    the   RAKIA
              Communications or the Generic Messages were capable of
              constituting qualifying “trade secrets” for the purposes of the DTSA.


151. The allegations in paragraph 149 are denied insofar as they relate to RAKIA
      and are not admitted insofar as they relate to the other Defendants. Further
      and in any event, it is Mr Azima’s case that each of the Additional Defendants
      was an agent of RAKIA. Under both United States federal law and the law

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     of the State of Missouri, it is not possible for a conspiracy to exist between
     an agent and a principal or between agents of a principal. Accordingly, the
     averment that RAKIA is liable for a conspiracy entered with and/or between
     its alleged agents is legally incoherent and the Re-Amended Counterclaim
     contains no valid plea of conspiracy under US law.


152. As to paragraph 150:
      152.1. It is not admitted that any trade secret and/or confidential information
              belonging to Mr Azima was misappropriated. Paragraph 150 above
              is repeated.
      152.2. It is not admitted that Mr Azima suffered any damage as a result of
              the alleged conspiracy and the hacking.
      152.3. Further and in any event, any loss of business goodwill or harm to
              Mr Azima’s business was the consequence of the public revelation
              of Mr Azima’s serious frauds and other unlawful conduct. Mr Azima
              is not entitled to any financial or non-financial remedy in respect of
              losses caused by the exposure of his own wrongdoing.


 3. The United States Computer Fraud and Abuse Act
153. Mr Azima’s claims under the Computer Fraud and Abuse Act (“CFAA”) are
     time barred:
      153.1. Under 18 U.S.C. §1030(g) the limitation period for claims under the
              CFAA is two years from the date of the act complained of or of the
              date of the discovery of the damage.
      153.2. Mr Azima was aware that his computers and emails had been
              hacked and that their contents had been made publicly available on
              the internet shortly after the first tranche of the hacked data was
              published online in early August 2016. On 30 September 2016,
              Mr Azima issued the US Proceedings in which he alleged that
              RAKIA was responsible for that hacking and disclosure and for the
              resulting damage which the hacking and disclosure allegedly
              caused. Accordingly, it is clear that Mr Azima was aware, at the
              latest, by that date of the facts which he now alleges constituted
              violations of the CFAA.
      153.3. Mr Azima did not plead any claim under the CFAA against RAKIA in

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              these proceedings until 16 August 2019. Those claims were brought
              more than two years after both the date of the hacking and
              publication and the date when Mr Azima first became aware of those
              facts. Accordingly, the claims under the CFAA pleaded at
              paragraphs 151 to 154 of the Re-Amended Counterclaim are
              limitation barred.
      153.4. The response pleaded below to the claims under the CFAA is without
              prejudice to this limitation defence.


154. As to paragraph 151:
      154.1. It is admitted that pursuant to 18 U.S.C. §1030(g) of the CFAA any
              person who suffers damage or loss by reason of a violation of that
              section may maintain a civil action against the violator.
      154.2. It is admitted that 18 U.S.C. §1030(e)(2)(B) (not 18 U.S.C.
              §1030(e)(2)(8)) provides that a “protected computer” includes a
              computer which is used in or affecting interstate or foreign commerce
              or communication.
      154.3. Subparagraph b. is not admitted. Mr Azima is required to plead and
              prove the specific computers which he alleges were accessed
              without his authorisation and that they qualify as a “protected
              computer” under 18 U.S.C. § 1030(e)(2)(B).
      154.4. Subparagraph c. is admitted.
      154.5. Subparagraph d. is denied in relation to RAKIA and is otherwise not
              admitted.
      154.6. Subparagraph e. is denied.


155. As to paragraph 152:
      155.1. It is admitted that it is contrary to the CFAA intentionally to access a
              protected computer without authorisation and, as a result of such
              conduct, recklessly cause damage.
      155.2. RAKIA did not hack Mr Azima’s devices or alter Mr Azima’s data on
              those devices, nor did it instruct or authorise anyone else to do so.
              With the exception of the above, subparagraph a. is not admitted.
      155.3. As to subparagraph b.:
              (a)    It is admitted that 18 U.S.C. §1030(g) provides that a person

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                     who suffers damage or loss (as defined in §1030(e)(8), (11))
                     by reason of a violation of §1030 may bring a civil claim for
                     compensatory damages against the violator, but only if able
                     to show a loss of at least $5,000: see Register.com, Inc. v.
                     Verio, Inc., 356 F.3d 393 (2d Cir. 2004).
              (b)    It is denied that that Mr Azima has any cause of action for
                     compensation under 18 U.S.C. §1030 against RAKIA.
              (c)    Further, even if (which is denied) Mr Azima had a cause of
                     action for compensation under 18 U.S.C. §1030 against
                     RAKIA or any of the Additional Defendants, pursuant to
                     18 U.S.C.     §1030(g)    the   claim   would   be   limited   to
                     compensation for “damage” or “loss” as defined by that
                     section:
                     (i)    “Damage” means “any impairment to the integrity or
                            availability of data, a program, a system, information”:
                            U.S.C. 18 §1030(e)(8).
                     (ii)   “Loss” means “any reasonable cost to any victim,
                            including the cost of responding to an offense,
                            conducting a damage assessment, and restoring the
                            data, program, system, or information to its condition
                            prior to the offense, and any revenue lost, cost incurred,
                            or other consequential damages incurred because of
                            interruption of service”: 18 U.S.C. §1030(e)(11).
              (d)    Subparagraph b. is otherwise not admitted.


156. Paragraph 153 is not admitted. Mr Azima is required to prove which of his
      computers were infected and how, which of his computers were disposed of
      and replaced and why that was necessary, what disruption to his business
      took place, and that such disruption was attributable to the impairment of his
      computers.


157. Paragraph 154 is denied insofar as it relates to RAKIA and is otherwise not
      admitted.


4. The Missouri Computer Tampering Act

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158. Paragraph 155 is admitted. The provisions of the Missouri Computer
      Tampering Act (“MCTA”) do not apply extraterritorially. In support of this
      averment, RAKIA will rely on the principle that, absent express text to the
      contrary, Missouri statutes are presumed to have no extraterritorial effect.
      Since it is not alleged that any of the Defendants were present in Missouri at
      the time when they committed the alleged acts on which the claims under the
      MCTA are based, it follows that the MCTA has no application to those alleged
      acts.


159. Paragraph 156 is admitted, save that section 537.525 of the Revised
      Statutes of Missouri does not state that an owner “is entitled to recover”
      compensatory damages, but rather provides that such an owner “may bring
      a civil action” for compensatory damages.

160. Save that it is denied that the MCTA applies extraterritorially, paragraph 157
      is not admitted.

161. Save that it is denied that RAKIA was party to any computer tampering or
      that it is jointly and severally liable with any other persons in respect of this,
      paragraph 158 is not admitted.


 5. Invasion of Privacy Torts – Intrusion on the Seclusion of Another
162. As to paragraphs 159 and 160:
      162.1. It is denied that RAKIA was a party to the hacking. It is therefore
              denied that RAKIA is liable to Mr Azima for the tort of invasion of
              privacy (intrusion on the seclusion of another) as alleged at
              paragraphs 159 to 160 or at all.
      162.2. It is not admitted that the hacked data included any secret and
              private subject matter. It is denied (if it is alleged) that the Iniquity
              Documents, the RAKIA Communications or the Generic Messages
              were secret and private or that Mr Azima had a right to keep such
              documents      (or information about       such documents) secret.
              Paragraph 6.3 above is repeated.
      162.3. Although paragraph 160 contends that Mr Azima is entitled to
              “special damages”, no special damages are pleaded in the Re-


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              Amended Counterclaim and no Schedule of Special Damage has
              been served by Mr Azima.
      162.4. It is not admitted that Mr Azima has suffered any mental distress as
              a result of any invasion of his privacy. Without prejudice to the
              generality of that non-admission:
              (a)   Distress must be medically significant in order to be capable
                    of giving rise to any entitlement to damages under this cause
                    of action;
              (b)   Any distress which Mr Azima has suffered is much more likely
                    to be the consequence of the public exposure of true facts
                    concerning his own fraudulent conduct and wrongdoing, for
                    which he is not entitled to recover any damages.
      162.5. With the exception of the above, paragraphs 159 and 160 are not
              admitted.


 6. Invasion of Privacy - Public Disclosure of Private Facts
163. As to paragraphs 161 and 162:
      163.1. It is denied that RAKIA was a party to the hacking and dissemination
              of Mr Azima’s data. Accordingly:
              (a)   It is denied that RAKIA was a party to any of the matters
                    described at paragraph 161a.-d.
              (b)   It is denied that RAKIA is liable (whether jointly and severally
                    or otherwise) to Mr Azima for the tort of invasion of privacy
                    (public disclosure of private facts).
      163.2. It is denied that the hacked data contained private matters in which
              the public had no legitimate concern. There was a strong and
              legitimate concern in the public exposure of Mr Azima’s serious
              frauds and other wrongdoing and therefore there was a strong and
              legitimate public concern in the publication of the Iniquity
              Documents. The Iniquity Data concerned newsworthy matters of
              public concern and the publication of those matters is protected by
              the First Amendment to the United States Constitution.
      163.3. As to the claim for damages for harm to Mr Azima’s privacy interests:
              (a)   Mr Azima has failed to provide any particulars regarding (i)
                    any shame or humiliation which he allegedly suffered; and (ii)

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                 why a person of ordinary sensibilities would have experienced
                 such shame or humiliation.
          (b)    According to Mr Azima, the hacked data included a large
                 number of documents and communications concerning his
                 businesses and various records of his phone usage (such as
                 call histories, contacts and notes). It is inherently unlikely that
                 the publication of unremarkable documents, communications
                 and records of this nature would cause any shame or
                 humiliation to a person of ordinary sensibilities.
          (c)    Mr Azima is not entitled to recover any damages for shame or
                 humiliation caused by the public exposure of true facts
                 concerning his own fraudulent conduct and wrongdoing. Any
                 such shame or humiliation is the consequence of Mr Azima’s
                 own dishonesty and wrongdoing, rather than any actionable
                 invasion of privacy.
   163.4. No admissions are made as to the nature and extent of Mr Azima’s
          recoverable damages.
   163.5. Although paragraph 162 avers that Mr Azima is entitled to damages
          for “specific damages” caused by the disclosure of the alleged
          private facts, no claim for special damages is pleaded in the Re-
          Amended Counterclaim and no Schedule of Special Damage has
          been served by Mr Azima.
   163.6. It is not admitted that Mr Azima has suffered any mental distress as
          a result of any invasion of his privacy. Without prejudice to the
          generality of that non-admission:
          (a)    Distress must be medically significant in order to be capable
                 of giving rise to any entitlement to damages under this cause
                 of action;
          (b)    Any distress which Mr Azima has suffered was the
                 consequence of the public exposure of true facts concerning
                 his own fraudulent conduct and wrongdoing, for which he is
                 not entitled to recover any damages.
   163.7. With the exception of the above, paragraphs 161 and 162 are not
          admitted.



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 7. Tortious Interference with Business Relationship and Business
 Expectancy
164. It is unclear what “business” “conducted” by Mr Azima paragraph 163 is
     intended to refer to. Save that it is admitted that RAKIA was aware that
     Mr Azima had various business interests, paragraph 163 is not admitted.


165. As to paragraph 164:
      165.1. It is denied that RAKIA was a party to the hacking and dissemination
              of Mr Azima’s data. Accordingly, it is denied that RAKIA did any of
              the things listed at subparagraphs a. to e.
      165.2. Without prejudice to that denial, the Re-Amended Counterclaim and
              Mr Azima’s RFI Response:
              (a)   do not provide any particulars as to the way(s) or respect(s)
                    in which Mr Azima’s business and business expectancy were
                    allegedly interfered with;
              (b)   do not identify the “improper means” whose alleged
                    “employment” is said to have given rise to the alleged tort; and
              (c)   do not provide any particulars as to the “business
                    relationships” which were allegedly severed or the business
                    expectancy which was allegedly lost.
      165.3. Further and in any event:
              (a)   The alleged severance of business relationships, interference
                    with business and loss of business expectancy all concern
                    business conducted through companies owned by Mr Azima.
                    The rule in Prudential Assurance Company v Newman
                    Industries Ltd (No. 2) [1982] Ch 204 precludes Mr Azima from
                    bringing a claim in respect of a loss of business allegedly
                    suffered as a result of a wrong done to a company in which
                    he is a shareholder. The claims at paragraphs 163 to 164 of
                    the Re-Amended Counterclaim are therefore barred by that
                    rule.
              (b)   Mr Azima is in any event not entitled to recover any damages
                    for loss of business expectancy or severance of business
                    relationships caused by the public exposure of the true facts
                    concerning his own fraudulent conduct and wrongdoing. Any

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                     such loss or severance is the consequence of Mr Azima’s own
                     dishonesty and wrongdoing, rather than any actionable
                     tortious interference with business relationships or business
                     expectancy.


 8. Conspiracy
166. As to paragraph 166:
      166.1. It is denied that RAKIA was a party to the hacking and dissemination
              of Mr Azima’s data. Accordingly, it is denied that RAKIA was party to
              a civil conspiracy under Missouri law as alleged in paragraph 165.
      166.2. Further and in any event, it is Mr Azima’s case that each of the
              Additional Defendants was an agent of RAKIA. Under both United
              States federal law and the law of the State of Missouri, it is not
              possible for a conspiracy to exist between an agent and a principal
              or between agents of a principal. Accordingly, the averment that
              RAKIA is liable for a conspiracy entered with and/or between its
              alleged agents is legally incoherent and the Re-Amended
              Counterclaim contains no valid plea of conspiracy under Missouri
              law.
      166.3. With the exception of the above, paragraph 165 is not admitted.


C. LOSS, DAMAGE AND OTHER RELIEF
167. It is denied that Mr Azima has suffered any loss and damage for which RAKIA
      is liable to pay compensation. Without prejudice to the denial of liability set
      out above:
      167.1. The acquisition and publication of the Iniquity Documents, which
              demonstrated Mr Azima’s extensive fraudulent conduct (including
              serious frauds perpetrated against RAKIA) is not capable of giving
              rise to any cause of action against RAKIA. It follows that even if
              (which is denied) RAKIA was responsible for the hacking, RAKIA
              would not be liable for any pecuniary or non-pecuniary damage
              which was caused by the publication of the Iniquity Documents.
      167.2. The Re-Amended Counterclaim does not attempt to distinguish
              between (1) loss/damage caused by the acquisition and publication
              of the Iniquity Documents; and (2) loss/damage caused by the

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          acquisition and publication of other material which does not
          constitute evidence of Mr Azima’s serious frauds and wrongdoing.
          The Re-Amended Counterclaim therefore fails to identify any alleged
          damage which was caused by an allegedly actionable publication of
          private and confidential material, as opposed to a non-actionable
          publication of non-private and non-confidential material.
   167.3. Any alleged pecuniary or non-pecuniary damage suffered by
          Mr Azima is more likely to have been the consequence of the public
          exposure of true facts concerning Mr Azima’s own fraudulent and
          unlawful conduct, rather than the acquisition and publication of other
          material which did not contain evidence of such misconduct. In
          support of this averment, RAKIA will rely on the following matters:
          (a)   Documents demonstrating that Mr Azima had orchestrated
                and participated in numerous frauds and other serious
                wrongdoing       were     inherently   more      likely   to   damage
                Mr Azima’s reputation and to attract significant adverse
                attention and media coverage than documents which
                contained information of a more anodyne character.
          (b)   Mr Azima’s Original Counterclaim:
                (i)    alleged     that      Mr   Azima    had     suffered    serious
                       reputational and financial damage as a result of the
                       publication of false statements accusing him of fraud
                       and other wrongdoing; and
                (ii)   sought substantial damages for the torts of defamation,
                       malicious        falsehood,     injurious    falsehood     and
                       commercial disparagement in respect of those
                       allegedly false statements.
          (c)   The allegations and claims described in paragraph (b) above
                demonstrate that the loss and damage which Mr Azima claims
                to have suffered was caused principally or exclusively by the
                public exposure of (true) facts about Mr Azima’s own
                fraudulent conduct and wrongdoing. Those allegations have
                been abandoned in the Re-Amended Counterclaim in
                response to the High Court’s findings that Mr Azima had
                engaged in seriously fraudulent conduct towards RAKIA. The

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                     abandonment of those allegations in the Re-Amended
                     Counterclaim reflects the fact that Mr Azima is not entitled to
                     any remedy in respect of loss and damage caused by the
                     public exposure of true facts about his own fraudulent conduct
                     and wrongdoing.
       167.4   Further, insofar as the losses which Mr Azima claims to have
               suffered were either losses suffered by companies of which he is a
               shareholder, or comprise a reduction in the value of Mr Azima’s
               shareholdings in such companies and/or a diminution in the
               distributions he receives by virtue of such shareholdings, the rule in
               Prudential Assurance Company v Newman Industries Ltd (No.
               2) [1982] Ch 204 (affirmed by the Supreme Court in Sevilleja v Marex
               Financial Ltd [2021] AC 39) precludes Mr Azima from recovering any
               damages in respect of those losses in these proceedings.


 1. Pecuniary Losses
168. Paragraph 166 is denied insofar as it relates to RAKIA and is otherwise not
       admitted.


169.   Paragraph 167 is not admitted. Without prejudice to that non-admission:
       169.1. The first draft of the Amended Counterclaim pleaded at
               paragraph 167(a) that as a result of the hacking Mr Azima “required
               professional assistance to investigate it” and alleged that he had
               incurred expenditure of $183,000 in respect of “professional services
               required (from ZP Consultants LLC) to investigate and mitigate the
               hacking”. Following receipt of that draft, on 15 June 2021 RAKIA’s
               solicitors wrote to Mr Azima’s solicitors expressing serious concern
               that Mr Azima had not previously divulged the alleged involvement
               of ZP Consultants LLC in investigating and mitigating the hacking,
               nor disclosed any documents produced or held on his behalf by that
               company (despite such documents plainly falling within the scope of
               Mr Azima’s standard disclosure obligations). Mr Azima’s solicitors
               failed to provide any explanation for the absence of any previous
               mention of, or disclosure of any documents relating to, ZP
               Consultants LLC. Instead, on 2 July 2021, Mr Azima’s solicitors

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             served an amended draft of the Amended Counterclaim which
             retained the averment regarding ZP Consultants LLC, save that the
             amount of that alleged expenditure had been changed (without
             explanation) from $183,000 to $60,000. This contention was
             maintained in the Amended Counterclaim served on 23 July 2021.
             In its Request for Further Information dated 2 September 2021,
             RAKIA sought full particulars of the “professional services” provided
             by ZP Consultants LLC.          Mr Azima did not provide any such
             particulars. Instead, on 30 September 2021 Mr Azima served a draft
             Re-Amended Counterclaim which entirely abandoned (without any
             explanation) the contentions that:
             (i)    he had required professional assistance to investigate the
                    hacking; and
             (ii)   he had incurred costs of $60,000 in engaging ZP Consultants
                    LLC to investigate and mitigate the hacking.
      169.2. If and insofar as the alleged expenditures referred to at paragraph
             167b.-c. of the Amended Counterclaim were not incurred by
             Mr Azima personally and/or concerned the replacement of (or the
             provision of protective software for) computers which were not
             owned by Mr Azima personally, it is denied that Mr Azima is entitled
             to recover damages in respect of this. In this regard, it is noted that
             Mr Azima’s RFI Response states that of the four computers which
             were allegedly replaced, two were “located at the office of ALG
             Transportation” and one was located “at Mr Ray Adams’ home office
             in Leawood, Kansas”.       It is therefore to be inferred that those
             computers were owned by ALG Transportation Inc. and/or
             Mr Adams, rather than Mr Azima.


170. As to paragraph 168:
      170.1. It is not admitted that Mr Azima has suffered extensive damage to
             his business. Paragraph 167 above is repeated.
      170.2. The fact that Mr Azima is seeking to challenge the Court of Appeal’s
             dismissal of his appeal in respect of RAKIA’s claims has no logical
             bearing upon his ability to particularise the extent of his alleged
             pecuniary losses:

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              (a)    Unless and until the Supreme Court allows Mr Azima’s
                     appeal, the Judge’s findings in respect of RAKIA’s claims
                     stand and Mr Azima is required to plead his Counterclaim on
                     the basis of those findings.
              (b)    In any event, Mr Azima’s appeal to the Supreme Court does
                     not seek to challenge the findings of Iniquity against him.
                     Accordingly, even if the Supreme Court were to allow his
                     appeal, this would have no effect on his ability to particularise
                     his alleged pecuniary losses.
      170.3. Similarly, there is no logical connection between the extent of the
              damage that Mr Azima claims his business has suffered, and the
              determination of the parties who were responsible for the hacking
              and their reasons for doing it. Mr Azima’s ability to particularise his
              alleged pecuniary damage is in no way dependent upon his ability to
              plead or establish who was responsible for hacking or how and why
              those persons carried out that hacking.
      170.4. With the exception of the above, paragraph 168 is denied.
      170.5. Further and in any event, even if (which is denied) Mr Azima has
              suffered extensive damage to his business, since all such business
              was conducted through companies owned by Mr Azima, he is
              precluded by the rule in Prudential Assurance Company v Newman
              Industries Ltd (No. 2) [1982] Ch 204 from pursuing any personal
              claim in respect of such damage or losses caused by such damage.


 2. Non-Pecuniary Losses
171. As to paragraph 169:
      171.1. It is not admitted that Mr Azima suffered any distress or emotional
              harm as a result of the unlawful publication of the hacked data.
      171.2. If (which is not admitted) Mr Azima did suffer distress or emotional
              harm as a result of the publication of the hacked data, this was solely
              or predominantly caused by the revelation of his own fraudulent and
              unlawful conduct. Mr Azima is not entitled to damages for distress or
              emotional harm caused by the exposure of true facts regarding his
              own serious wrongdoing.
      171.3. Further and in any event, it is denied that Mr Azima is entitled to any

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              damages for distress or emotional harm caused by the publication
              of information or data in which he had no reasonable expectation of
              privacy or confidence.


 3. Exemplary Damages
172. Paragraph 170 is denied insofar as it relates to RAKIA and is otherwise not
      admitted.


173. As to paragraph 171:
      173.1. RAKIA was the investment authority of RAK. It is not an “organ” of
              RAK in any other sense.
      173.2. The second sentence is denied. None of the Additional Defendants
              was a servant of the government of RAK.
      173.3. In relation to the third sentence, it is assumed that the reference to
              “paragraph 34” is a typographical error and is in fact intended to refer
              to paragraph 35 of the Re-Amended Counterclaim. It is denied that
              RAKIA was liable for any of the alleged wrongdoing by the Additional
              Defendants. Paragraph 35 above is repeated.
      173.4. It is denied that RAKIA engaged in actions which were oppressive,
              arbitrary or unconstitutional (or that any such actions were
              committed by others in circumstances which rendered the actions
              attributable to RAKIA). The fourth sentence is otherwise not
              admitted.
      173.5. Subparagraphs a. to c. are denied insofar as they relate to RAKIA
              and are otherwise not admitted.


174. As to paragraph 172:
      174.1. It is denied that RAKIA engaged in any wrongdoing towards Mr
              Azima (whether through Mr Buchanan, Mr Gerrard or otherwise) and
              denied it calculated to make a profit or other gain that would exceed
              the amount of any compensation potentially payable to Mr Azima or
              that it would undermine efforts to bring attention to alleged human
              rights abuses in RAK.
      174.2. As to subparagraph b., it is denied that Mr Page received any
              remuneration from RAKIA. Save as aforesaid, subparagraph b. is

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              not admitted.
      174.3. Save that it is admitted that Mr Buchanan received substantial
              remuneration, subparagraph c. is denied.
      174.4. Save that it is admitted that Dechert received substantial
              remuneration (of at least $1 million per month during some periods
              of their retainer), subparagraph d. is denied. It is specifically denied
              that Mr Gerrard received any remuneration from RAKIA.
      174.5. The remuneration referred to at subparagraphs 174.2 to 174.4
              above was in consideration of lawful services. RAKIA did not make
              any payment to any of the Additional Defendants in consideration of
              any unlawful acquisition, misuse or dissemination of Mr Azima’s
              confidential data.
      174.6. With the exception of the above, paragraph 172 is not admitted.


175. Paragraph 173 is denied:
      175.1. In respect of RAKIA, for the reasons set out above:
              (a)   RAKIA is not liable for any of the torts alleged in the Re-
                    Amended Counterclaim.
              (b)   Even if (which is denied) RAKIA was liable for one or more of
                    those alleged torts, the conditions for making an award of
                    exemplary damages against RAKIA are not met.
      175.2. In respect of the Additional Defendants, for the reasons set out
              above:
              (a)   It is not admitted that those Defendants are liable for any of the
                    torts alleged in the Re-Amended Counterclaim.
              (b)   Even if (which is not admitted) those Defendants are liable for
                    one or more of the alleged torts, the conditions for making an
                    award of exemplary damages against them are not met.
      175.3. Further, even if (which is denied) the conditions for making an award
              of exemplary damages against one of the Defendants were met, the
              fact that those conditions are not met in respect of one or more of
              the other Defendants means that exemplary damages are
              unavailable as a matter of law against any of the Defendants.
      175.4. Further and in any event, exemplary damages are only available as
              a matter of law in respect of causes of action in tort. It follows that

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               exemplary damages are unavailable as a matter of law in respect of
               Mr Azima’s claims for breach of confidence.


 4. Disgorgement
176. As to paragraph 174:
      176.1. It is admitted that the Additional Defendants received the
               remuneration pleaded in paragraph 174 above.
      176.2. The remuneration paid to the Additional Defendants was exclusively
               in consideration of lawful services. RAKIA did not make any payment
               to any of the Additional Defendants in consideration of any unlawful
               acquisition, misuse or dissemination of Mr Azima’s confidential data.
      176.3. With the exception of the above, paragraph 174 is not admitted.


177. Paragraph 175 is denied. Even if (which is denied) the remuneration paid to
      the Additional Defendants was for or in consideration of them unlawfully
      acquiring, misusing or disseminating Mr Azima’s confidential data, that
      remuneration would not have been at the expense of Mr Azima and there
      would be no basis for ordering the Additional Defendants to account to
      Mr Azima in respect of some or all of that remuneration.


 5. Interest
178. As to paragraph 176:
      178.1. The reference to “the Defendant” at paragraph 176 is assumed to
               refer to Mr Azima.
      178.2. It is denied that Mr Azima is entitled to any award of interest against
               RAKIA.


 6. Injunctive Relief
179. As to paragraph 177:
      179.1. Mr Azima is not entitled to any injunctive relief against RAKIA.
      179.2. RAKIA is not able to remove or procure the removal of the websites,
               torrents, WeTransfer links or other internet sources containing
               statements about Mr Azima or providing means for his date to be
               accessed by others.
      179.3. RAKIA has no knowledge of the extent of the hacking or the parties

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               involved.


 7. Orders made by Deputy Judge Lenon QC
180. The first sentence of paragraph 178 is denied. There is no basis on which it
      would be appropriate for the Court to vary the orders made by the Judge
      concerning interest and costs in respect of RAKIA’s claims against Mr Azima.
                                                         HUGH TOMLINSON QC
                                                             EDWARD CRAVEN


 Statement of truth
 The Defendant to the Counterclaim believes that the facts stated in this Defence
 to Counterclaim are true. The Defendant to the Counterclaim understands that
 proceedings for contempt of court may be brought against anyone who makes, or
 causes to be made, a false statement in a document verified by a statement of
 truth without an honest belief in its truth.




 Signed:       ……………………………………….
 Date:         19 November 2021
 Name:         Lucy Ward
 Position:     Partner, Stewarts Law LLP




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